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                                                                               APPEAL,JURY,TYPE−B
                                  U.S. District Court
                       District of Columbia (Washington, DC)
                 CIVIL DOCKET FOR CASE #: 1:21−cv−03354−BAH
                                   Internal Use Only

 FREEMAN et al. v. GIULIANI                                    Date Filed: 12/23/2021
 Assigned to: Judge Beryl A. Howell                            Jury Demand: Plaintiff
 Demand: $75,000                                               Nature of Suit: 320 Assault Libel &
 Related Case: 1:23−cv−03754−BAH                               Slander
 Cause: 28:1332 Diversity−Libel,Assault,Slander                Jurisdiction: Diversity
 Plaintiff
 RUBY FREEMAN                                     represented by Aaron E. Nathan
                                                                 WILLKIE FARR & GALLAGHER LLP
                                                                 787 Seventh Avenue
                                                                 New York, NY 10019
                                                                 212−728−8904
                                                                 Email: anathan@willkie.com
                                                                 ATTORNEY TO BE NOTICED

                                                              Brittany Marie Williams
                                                              PROTECT DEMOCRACY
                                                              1900 Market Street, 8th Floor
                                                              Philadelphia, PA 19103
                                                              202−236−7396
                                                              Email: brittany.williams@protectdemocracy.org
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Christine Kwon
                                                              PROTECT DEMOCRACY
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                                                              Fax: 202−303−2000
                                                              Email: jknoblett@willkie.com
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                                                              John Langford
                                                              PROTECT DEMOCRACY

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                                                555 W. 5th St.
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                                                Fax: 202−769−3176
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                                                Washington, DC 20006
                                                202−303−1183


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                                                Fax: 202−303−2000
                                                Email: tryan@willkie.com
                                                ATTORNEY TO BE NOTICED

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                                                Atlanta, GA 30309
                                                404−720−8111
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                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Michael J. Gottlieb
                                                WILLKIE FARR & GALLAGHER, LLP
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                                                Washington, DC 20006
                                                (202) 303−1442
                                                Fax: (202) 303−2442
                                                Email: mgottlieb@willkie.com
                                                ATTORNEY TO BE NOTICED

 Plaintiff
 WANDREA' MOSS                      represented by Aaron E. Nathan
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                Brittany Marie Williams
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Christine Kwon
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                John Tyler Knoblett
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                John Langford
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Marie Annie Houghton−Larsen
                                                (See above for address)
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED


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                                                   Meryl Conant Governski
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Rachel Goodman
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Sara Chimene−Weiss
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Timothy Ryan
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Von DuBose
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Michael J. Gottlieb
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED


 V.
 Defendant
 HERRING NETWORKS, INC.
 d/b/a ONE AMERICA NEWS
 NETWORK
 TERMINATED: 05/11/2022

 Defendant
 CHARLES HERRING
 TERMINATED: 05/11/2022

 Defendant
 ROBERT HERRING
 TERMINATED: 05/11/2022

 Defendant
 CHANEL RION
 TERMINATED: 05/11/2022

 Defendant
 RUDOLPH GIULIANI                   represented by Joseph D. Sibley , IV


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                                                             CAMARA & SIBLEY LLP
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                                                             Austin, TX 78701
                                                             713−966−6789
                                                             Fax: 713−583−1131
                                                             Email: sibley@camarasibley.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

 Non−Party Petitioner
 OFFICE OF THE SECRETARY OF                   represented by Daniel Stephen Walsh
 STATE FOR THE STATE OF                                      DEPARTMENT OF LAW, STATE OF
 GEORGIA                                                     GEORGIA
                                                             40 Capitol Square, SW
                                                             Atlanta, GA 30334
                                                             404−458−3358
                                                             Email: dwalsh@law.ga.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

 Non−Party Respondent
 BERNARD KERIK                                represented by Timothy Parlatore
                                                             PARLATORE LAW GROUP LLP
                                                             260 Madison Avenue
                                                             17th Floor
                                                             New York, NY 10016
                                                             212−679−6312
                                                             Fax: 212−202−4787
                                                             Email: timothy.parlatore@parlatorelawgroup.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED


  Date Filed   #    Docket Text
  12/23/2021    1   COMPLAINT against RUDOLPH W. GIULIANI, CHARLES HERRING, ROBERT
                    HERRING, HERRING NETWORKS, INC., CHANEL RION with Jury Demand (
                    Filing fee $ 402 receipt number ADCDC−8947756) filed by RUBY FREEMAN,
                    WANDREA MOSS. (Attachments: # 1 Civil Cover Sheet, # 2 Summons to Herring
                    Networks, Inc., # 3 Summons to Charles Herring, # 4 Summons to Robert Herring, # 5
                    Summons to Chanel Rion, # 6 Summons to Rudolph W. Giuliani)(Gottlieb, Michael)
                    (Entered: 12/23/2021)
  12/23/2021    2   Exparte document, MOTION for Waiver of Local Civil Rule 5.1(c) by RUBY
                    FREEMAN, WANDREA MOSS. (Attachments: # 1 Text of Proposed
                    Order)(Gottlieb, Michael) (Entered: 12/23/2021)
  12/27/2021        Case Assigned to Chief Judge Beryl A. Howell. (znmg) (Entered: 12/27/2021)
  12/28/2021    3   SUMMONS (5) Issued Electronically as to RUDOLPH W. GIULIANI, CHARLES
                    HERRING, ROBERT HERRING, HERRING NETWORKS, INC., CHANEL RION.


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                    (Attachments: # 1 Notice and Consent)(adh, ) (Entered: 12/28/2021)
  12/30/2021    4   STANDING ORDER. Signed by Chief Judge Beryl A. Howell on December 30, 2021.
                    (lcbah4) (Entered: 12/30/2021)
  01/11/2022    5   SEALED DOCUMENT filed by RUBY FREEMAN, WANDREA MOSS(This
                    document is SEALED and only available to authorized persons.)(Gottlieb, Michael)
                    (Entered: 01/11/2022)
  01/26/2022    6   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                    HERRING NETWORKS, INC. served on 1/6/2022, answer due 1/27/2022
                    (Attachments: # 1 Index of Exhibits, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5
                    Exhibit D)(Gottlieb, Michael) (Entered: 01/26/2022)
  01/26/2022    7   WAIVER OF SERVICE. CHARLES HERRING waiver sent on 1/24/2022, answer
                    due 3/25/2022. (Gottlieb, Michael) (Entered: 01/26/2022)
  01/26/2022    8   WAIVER OF SERVICE. RUDOLPH W. GIULIANI waiver sent on 1/3/2022, answer
                    due 3/4/2022. (Gottlieb, Michael) (Entered: 01/26/2022)
  01/26/2022    9   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                    ROBERT HERRING served on 1/12/2022, answer due 2/2/2022 (Gottlieb, Michael)
                    (Entered: 01/26/2022)
  01/26/2022   10   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                    CHANEL RION served on 1/7/2022, answer due 1/28/2022 (Gottlieb, Michael)
                    (Entered: 01/26/2022)
  01/26/2022   11   Unopposed MOTION for Extension of Time to Respond to Complaint to March 25,
                    2022 and to Consolidate Deadlines by RUBY FREEMAN, WANDREA MOSS.
                    (Attachments: # 1 Text of Proposed Order)(Gottlieb, Michael) (Entered: 01/26/2022)
  01/27/2022        MINUTE ORDER (paperless) GRANTING plaintiffs' 11 Unopposed Motion for
                    Extension of Time to Respond to Complaint to March 25, 2022, and to Consolidate
                    Deadlines, and DIRECTING defendants to respond to the Complaint by March 25,
                    2022. Signed by Chief Judge Beryl A. Howell on January 27, 2022. (lcbah4) (Entered:
                    01/27/2022)
  01/27/2022        Set/Reset Deadlines: Answer to the Complaint due by 3/25/2022. (ztg) (Entered:
                    01/27/2022)
  03/21/2022   12   Unopposed MOTION for Extension of Time to File Answer re 1 Complaint, ,
                    Unopposed MOTION for Briefing Schedule by RUDOLPH GIULIANI.
                    (Attachments: # 1 Text of Proposed Order Proposed Order)(Sibley, Joseph) (Entered:
                    03/21/2022)
  03/22/2022        MINUTE ORDER (paperless) GRANTING IN PART and DENYING IN PART
                    defendant RUDOLPH GIULIANI's 12 Unopposed Motion for Extension of Time to
                    Respond to Complaint; DIRECTING plaintiffs and defendants HERRING
                    NETWORKS, INC., CHARLES HERRING, ROBERT HERRING, and CHANEL
                    RION (the "OAN Defendants") to file a joint status report by April 21, 2022, apprising
                    the Court of the status of settlement negotiations, whether they intend to proceed with
                    litigation, or whether they request additional time to continue negotiations;
                    GRANTING the request for plaintiffs to file an amended complaint by April 25, 2022;
                    and DENYING defendant RUDOLPH GIULIANI's request for an extension in the
                    deadline by which he must respond to plaintiffs' Complaint, as defendant has provided


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                    insufficient cause to justify such a substantial extension of time to respond to the
                    Complaint beyond that afforded to him by the Federal Rules. Signed by Chief Judge
                    Beryl A. Howell on March 22, 2022. (lcbah4) (Entered: 03/22/2022)
  03/24/2022        Set/Reset Deadlines: Plaintiffs and defendants HERRING NETWORKS, INC.,
                    CHARLES HERRING, ROBERT HERRING, and CHANEL RION's Joint Status
                    Report due by 4/21/2022; Amended Complaint due by 4/25/2022. (ztg) (Entered:
                    03/24/2022)
  03/25/2022   13   ANSWER to Complaint by RUDOLPH GIULIANI.(Sibley, Joseph) (Entered:
                    03/25/2022)
  04/21/2022   14   Joint STATUS REPORT Regarding Mediation by RUBY FREEMAN, WANDREA
                    MOSS. (Gottlieb, Michael) (Entered: 04/21/2022)
  04/25/2022   15   Joint MOTION for Order Approving the Schedule Proposed in the Concurrently Filed
                    Joint Meet and Confer Report by RUBY FREEMAN, WANDREA MOSS.
                    (Attachments: # 1 Text of Proposed Order [Proposed] Joint Scheduling
                    Order)(Gottlieb, Michael) (Entered: 04/25/2022)
  04/25/2022   16   MEET AND CONFER STATEMENT. (Gottlieb, Michael) (Entered: 04/25/2022)
  04/26/2022        MINUTE ORDER (paperless) GRANTING the parties' 15 Joint Motion for Order
                    Approving the Schedule Proposed in the Concurrently Filed Joint Meet and Confer
                    Report, and ISSUING the following SCHEDULING ORDER to control the timing of
                    proceedings in this matter:
                    1. By May 10, 2022, the parties shall file any amended pleadings and join any
                    additional parties;
                    2. By May 18, 2022, the parties shall exchange initial disclosures required by Federal
                    Rule of Civil Procedure 26(a)(1);
                    3. By June 6, 2022, defendant shall file any motion under Federal Rule of Civil
                    Procedure 12, with any opposition due by June 27, 2022, and any reply by July 11,
                    2022;
                    4. By November 22, 2022, all fact discovery shall close (including answers to
                    interrogatories, document production, requests for admission, and depositions);
                    5. By December 16, 2022, all experts shall be designated with required expert
                    disclosures, and by January 27, 2023, any rebuttal experts designated with required
                    rebuttal expert disclosures; and
                    6. By February 17, 2023, expert discovery shall be completed, and the parties shall file
                    a joint status report advising the Court whether (a) they request referral for mediation
                    or settlement; (b) they request a date for a pretrial conference; or (c) dispositive
                    motions are anticipated. Signed by Chief Judge Beryl A. Howell on April 26, 2022.
                    (lcbah4) (Entered: 04/26/2022)
  04/27/2022        Set/Reset Deadlines: Amended pleadings/joinder of parties due by 5/10/2022; initial
                    disclosures due by 5/18/2022; any motion under Federal Rule of Civil Procedure 12
                    due by 6/6/2022; opposition due by 6/27/2022; reply due by 7/11/2022; fact discovery
                    due by 11/22/2022; expert disclosures due by 12/16/2022; rebuttal expert designation
                    due by 1/27/2023; all discovery due by 2/17/2023. (ztg) (Entered: 04/27/2022)
  04/29/2022   17   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Von A. DuBose, Filing
                    fee $ 100, receipt number ADCDC−9205365. Fee Status: Fee Paid. by RUBY
                    FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration of Von A. DuBose, #
                    2 Text of Proposed Order)(Gottlieb, Michael) (Entered: 04/29/2022)


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  04/29/2022   18   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Rachel Goodman,
                    Filing fee $ 100, receipt number ADCDC−9205400. Fee Status: Fee Paid. by RUBY
                    FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration of Rachel Goodman,
                    # 2 Text of Proposed Order)(Gottlieb, Michael) (Entered: 04/29/2022)
  04/29/2022   19   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Kurt G. Kastorf, Filing
                    fee $ 100, receipt number ADCDC−9205434. Fee Status: Fee Paid. by RUBY
                    FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration of Kurt G. Kastorf, #
                    2 Text of Proposed Order)(Gottlieb, Michael) (Entered: 04/29/2022)
  04/29/2022   20   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− John Langford, Filing
                    fee $ 100, receipt number ADCDC−9205462. Fee Status: Fee Paid. by RUBY
                    FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration of John Langford, #
                    2 Text of Proposed Order)(Gottlieb, Michael) (Entered: 04/29/2022)
  05/02/2022        MINUTE ORDER (paperless) GRANTING plaintiff's 17 Motion for Admission of
                    Attorney Pro Hac Vice. Mr. Von A. DuBose may enter an appearance pro hac vice for
                    the purpose of representing plaintiffs in this action. Counsel should register for
                    e−filing via PACER and file a notice of appearance pursuant to LCvR 83.6(a)
                    Click for instructions. Signed by Chief Judge Beryl A. Howell on May 2, 2022.
                    (lcbah4) (Entered: 05/02/2022)
  05/02/2022        MINUTE ORDER (paperless) GRANTING plaintiffs' 18 Motion for Admission of
                    Attorney Pro Hac Vice. Ms. Rachel Elizabeth Goodman may enter an appearance pro
                    hac vice for the purpose of representing plaintiffs in this action. Counsel should
                    register for e−filing via PACER and file a notice of appearance pursuant to
                    LCvR 83.6(a) Click for instructions. Signed by Chief Judge Beryl A. Howell on May
                    2, 2022. (lcbah4) (Entered: 05/02/2022)
  05/02/2022        MINUTE ORDER (paperless) GRANTING plaintiffs' 19 Motion for Admission of
                    Attorney Pro Hac Vice. Mr. Kurt G. Kastorf may enter an appearance pro hac vice for
                    the purpose of representing plaintiffs in this action. Counsel should register for
                    e−filing via PACER and file a notice of appearance pursuant to LCvR 83.6(a)
                    Click for instructions. Signed by Chief Judge Beryl A. Howell on May 2, 2022.
                    (lcbah4) (Entered: 05/02/2022)
  05/02/2022        MINUTE ORDER (paperless) GRANTING plaintiffs' 20 Motion for Admission of
                    Attorney Pro Hac Vice. Mr. John Thomas Langford may enter an appearance pro hac
                    vice for the purpose of representing plaintiffs in this action. Counsel should register
                    for e−filing via PACER and file a notice of appearance pursuant to LCvR 83.6(a)
                    Click for instructions. Signed by Chief Judge Beryl A. Howell on May 2, 2022.
                    (lcbah4) (Entered: 05/02/2022)
  05/10/2022   21   MOTION to Dismiss (Motion for Voluntary Dismissal) by RUBY FREEMAN,
                    WANDREA MOSS. (Attachments: # 1 Text of Proposed Order)(Gottlieb, Michael)
                    (Entered: 05/10/2022)
  05/10/2022   22   AMENDED COMPLAINT against RUDOLPH GIULIANI with Jury Demand filed
                    by RUBY FREEMAN, WANDREA MOSS.(Gottlieb, Michael) (Entered: 05/10/2022)
  05/10/2022   23   NOTICE of Appearance by Meryl Conant Governski on behalf of RUBY FREEMAN,
                    WANDREA MOSS (Governski, Meryl) (Entered: 05/10/2022)
  05/10/2022   24   NOTICE of Appearance by Rachel Goodman on behalf of RUBY FREEMAN,
                    WANDREA MOSS (Goodman, Rachel) (Entered: 05/10/2022)


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  05/10/2022   25   NOTICE of Appearance by John Langford on behalf of RUBY FREEMAN,
                    WANDREA MOSS (Langford, John) (Entered: 05/10/2022)
  05/11/2022        MINUTE ORDER (paperless), GRANTING plaintiffs' 21 Motion for Voluntary
                    Dismissal and Entry of Judgment with Respect as to the OAN Defendants;
                    DISMISSING, with prejudice, defendants HERRING NETWORKS INC., CHARLES
                    HERRING, ROBERT HERRING, and CHANEL RION from the instant action; and
                    DIRECTING entry of final judgment as to defendants HERRING NETWORKS, INC.,
                    CHARLES HERRING, ROBERT HERRING, and CHANEL RION. See Fed. R. Civ.
                    P. 54(b). Signed by Chief Judge Beryl A. Howell on May 11, 2022. (lcbah4) (Entered:
                    05/11/2022)
  06/06/2022   26   MOTION to Dismiss Amended Complaint pursuant to Rule 12(b)(6) by RUDOLPH
                    GIULIANI. (Attachments: # 1 Text of Proposed Order Proposed Order, # 2
                    Memorandum in Support Memo in Support, # 3 Exhibit Ex A to Memo)(Sibley,
                    Joseph) (Entered: 06/06/2022)
  06/27/2022   27   Memorandum in opposition to re 26 MOTION to Dismiss Amended Complaint
                    pursuant to Rule 12(b)(6) filed by RUBY FREEMAN, WANDREA MOSS.
                    (Attachments: # 1 Text of Proposed Order Denying Defendant's Motion to Dismiss, #
                    2 Exhibit A: Snopes.com Article)(Gottlieb, Michael) (Entered: 06/27/2022)
  08/31/2022   28   Joint MOTION for Extension of Time to Complete Discovery by RUBY FREEMAN,
                    WANDREA MOSS. (Attachments: # 1 Text of Proposed Order)(Gottlieb, Michael)
                    (Entered: 08/31/2022)
  08/31/2022        MINUTE ORDER (paperless) GRANTING the parties' 28 Joint Motion to Extend
                    Discovery, and AMENDING the SCHEDULING ORDER as follows:
                    1. By May 22, 2023, all fact discovery shall close (including answers to
                    interrogatories, document production, requests for admission, and depositions);
                    2. By June 16, 2023, all experts shall be designated with required expert disclosures,
                    and by July 20, 2023, any rebuttal experts designated with required rebuttal expert
                    disclosures;
                    3. By August 10, 2023, expert discovery shall be completed, and the parties shall file a
                    joint status report advising the Court whether (a) they request referral for mediation or
                    settlement; (b) they request a date for a pretrial conference; or (c) dispositive motions
                    are anticipated;
                    and4. By September 11, 2023, the parties shall file any dispositive motions, with any
                    opposition due on September 25, 2023, and any replies due October 2, 2023. Signed
                    by Chief Judge Beryl A. Howell on August 31, 2022. (lcbah4) (Entered: 08/31/2022)
  09/01/2022        Set/Reset Deadlines: Fact discovery due by 5/22/2023. Expert disclosures due by
                    6/16/2023. Rebuttal expert disclosures due by 7/20/2023. Expert discovery and joint
                    status report due by 8/10/2023. Dispositive motions due by 9/11/2023. Opposition due
                    by 9/25/2023. Reply due by 10/2/2023. (hmc) Corrected typo on 9/6/2022 (ztg).
                    (Entered: 09/01/2022)
  09/19/2022   29   NOTICE of Appearance by Von DuBose on behalf of RUBY FREEMAN,
                    WANDREA MOSS (DuBose, Von) (Main Document 29 replaced on 9/21/2022)
                    (zed). (Entered: 09/19/2022)
  10/31/2022   30   ORDER denying the defendant's 26 Motion to Dismiss. See Order for further details.
                    Signed by Chief Judge Beryl A. Howell on October 31, 2022. (lcbah4) (Entered:
                    10/31/2022)


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   10/31/2022   31   MEMORANDUM OPINION regarding the defendant's 26 Motion to Dismiss. Signed
                     by Chief Judge Beryl A. Howell on October 31, 2022. (lcbah4) (Entered: 10/31/2022)
   11/14/2022   32   MEET AND CONFER STATEMENT. (Gottlieb, Michael) (Entered: 11/14/2022)
   12/12/2022   33   Original ANSWER to 22 Amended Complaint by RUDOLPH GIULIANI.(Sibley,
                     Joseph) (Entered: 12/12/2022)
   12/16/2022   34   Unopposed MOTION for Order Authorizing Plaintiffs to Serve Third−Party Katherine
                     Friess with a Federal Rule of Civil Procedure 45 Subpoena via Alternative Methods by
                     RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration of Attorney
                     John Langford in Support of Plaintiffs' Unopposed Motion for Order Approving
                     Alternative Service of Rule 45 Subpoena on Third−Party Katherine Friess, # 2 Exhibit
                     1 (Proposed Subpoena to Katherine Friess), # 3 Exhibit 2 (Giuliani Strategic Plan), # 4
                     Exhibit 3 (Def.'s Amended Answers to Interrogatories), # 5 Exhibit 4 (Def.'s First
                     Privilege Log), # 6 Exhibit 5 (Felter Affidavit of Due Diligence), # 7 Exhibit 6
                     (Friess's Colorado Action), # 8 Exhibit 7 (AT&T Letter to Friess), # 9 Exhibit 8
                     (Friess Declaration), # 10 Exhibit 9 (D.C. Bar Listing for Friess), # 11 Exhibit 10
                     (Colo. Bar Listing for Friess), # 12 Exhibit 11 (Bryson Affidavit of Non−Service), #
                     13 Exhibit 12 (Langford Emails to Friess's Counsel in Colorado Action), # 14 Exhibit
                     13 (Printout of Friess's Possible Address), # 15 Exhibit 14 (Virginia SCC Listing for
                     Friess's Business), # 16 Exhibit 15 (October Email from Langford to Friess), # 17
                     Exhibit 16 (December Email from Langford to Friess), # 18 Exhibit 17 (Read Receipts
                     Reflecting Friess Opening December Email), # 19 Exhibit 18 (Def.'s "V Card" for
                     Friess), # 20 Exhibit 19 (Order, OAO Alfa Bank v. Ctr. For Public Integrity, No.
                     1:00−cv−02208−JDB (D.D.C. Jan. 6, 2004), ECF No. 122), # 21 Exhibit 20 (Order,
                     Rich v. Butowsky, No. 1:18−cv−00681−RJL(D.D.C. Jan. 24, 2020), ECF No. 133), #
                     22 Text of Proposed Order)(Langford, John) (Entered: 12/16/2022)
   12/20/2022        MINUTE ORDER (paperless) GRANTING plaintiffs' 34 Unopposed Motion for
                     Order Authorizing Plaintiffs to Serve Third−Party Katherine Friess with a Federal
                     Rule of Civil Procedure 45 Subpoena via Alternative Methods ("Pls.' Mot."), upon
                     consideration of this Motion and the accompanying affidavits indicating plaintiffs'
                     repeated efforts to contact and serve Katherine Friess ["Friess"], see [34−1]
                     Declaration of Attorney John Langford in Support of Plaintiffs' Unopposed Motion for
                     Order Approving Alternative Service of Rule 45 Subpoena on Third−Party Katherine
                     Friess; [34−6] Felter Affidavit of Due Diligence; [34−8] AT&T Letter to Friess;
                     [34−12] Bryson Affidavit of Non−Service; [34−13] Langford Emails to Friess's
                     Counsel in Colorado Action; [34−16] October Email from Langford to Friess; [34−17]
                     December Email from Langford to Friess; and [34−18] Read Receipts Reflecting
                     Friess Opening December Email. While Federal Rule of Civil Procedure 45(b)(1)
                     contemplates that third−party witnesses are to be personally served, see Call of the
                     Wild Movie, LLC v. Does 1−1,062, 770 F. Supp. 2d 332, 362 (D.D.C. 2011) ("The
                     Federal Rules of Civil Procedure requires personal service of subpoenas. See FED. R.
                     CIV.P. 45(b)(1)."), "alternative forms of service may be acceptable under Rule 45,"
                     particularly "where the witness is aware of the lawsuit, knows that one of the parties is
                     interested in h[er] testimony, and is aware that there have been multiple attempts at
                     personal service, and where the proposed alternative service is reasonably designed to
                     insure the witness' receipt of the subpoena," Order, OAO Alfa Bank v. Ctr. For Public
                     Integrity, No. 1:00−cv−02208−JDB (D.D.C. Jan. 6, 2004); accord United States ex
                     rel. El−Amin v. George Washington Univ., No. 1:95−cv−02000−CKK, 2000 U.S.
                     Dist. LEXIS 15635, at *34 (D.D.C. Oct. 23, 2000); Order, Rich v. Butowsky, No.
                     18−cv−681−RJL (D.D.C. Jan. 24, 2020), ECF No. 133. Here, these factors are fully


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                     met: (1) Friess is likely aware of this lawsuit, given that plaintiffs have attempted to
                     serve her at six different addresses where she may be residing, they have contacted
                     counsel known to represent Friess in other matters, and they have emailed Friess
                     directly at five different email addresses, Pls.' Mot. at 1920; (2) plaintiffs have
                     attempted to serve Friess more than ten times over four months at six different
                     addresses in three different states, id. at 6; and (3) plaintiffs have offered three other
                     forms of service that will give actual notice of the action to Friess, including by
                     emailing her counsel and her personally, and mailing her to her known addresses, id.
                     at 22−23. Accordingly, plaintiffs are DIRECTED to serve a third−party subpoena on
                     Katherine Friess by each of the following means: (1) emailing a copy of this order and
                     the subpoena to each of the email addresses plaintiffs have for Friess, (2) sending a
                     copy of the order and confirmatory copy of the subpoena to all of the Colorado
                     addresses plaintiffs have attempted to serve Friess to−date, and (3) sending a copy of
                     the order and confirmatory copy of the subpoena to Friess's attorney in the Colorado
                     litigation regarding the Congressional subpoena for Friess's phone records, see
                     Compl., Friess v. Thompson, No. 22−cv−448 (D. Colo. Feb. 22, 2022), ECF No. 1.
                     Signed by Chief Judge Beryl A. Howell on December 20, 2022. (lcbah4) (Entered:
                     12/20/2022)
   03/16/2023   35   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Marie Anne
                     Houghton−Larsen, Filing fee $ 100, receipt number ADCDC−9932098. Fee Status:
                     Fee Paid. by RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration,
                     # 2 Exhibit Certificate of Good Standing, # 3 Text of Proposed Order)(Gottlieb,
                     Michael) (Entered: 03/16/2023)
   03/16/2023        NOTICE OF HEARING: The parties shall take notice that a Discovery Hearing is
                     scheduled for March 21, 2023, at 9:40 AM via videoconference before Chief Judge
                     Beryl A. Howell. The deputy clerk will provide the parties with a link to connect to the
                     courtroom via videoconference. (ztg) (Entered: 03/16/2023)
   03/20/2023        MINUTE ORDER (paperless), upon consideration of plaintiff's email to the Court on
                     March 16, 2023 ("March 16 Email"), DIRECTING plaintiff to provide a more detailed
                     explanation of and timeline for the discovery issues in dispute by 3:00 PM today,
                     March 20, 2023, by (1) summarizing the "two fulsome deficiency letters" plaintiff
                     submitted to defendant, the dates issued and dates of requested responses, subject
                     matter for which discovery was requested, and attaching those letters as exhibits; (2)
                     clarifying the scope of defendant's failure to preserve, search, or produce documents in
                     response to plaintiff's requests for production; and (3) explaining what relief plaintiff
                     seeks from the Court, see March 16 Email; and FURTHER DIRECTING defendant to
                     file any response to plaintiff's filing by 5:00 PM today. Signed by Judge Beryl A
                     Howell on March 20, 2023. (lcbah4) (Entered: 03/20/2023)
   03/20/2023        MINUTE ORDER (paperless) GRANTING plaintiffs' 35 Motion for Marie Anne
                     Houghton−Larsen to Appear Pro Hac Vice. Ms. Houghton−Larsen may enter an
                     appearance pro hac vice for the purpose of representing plaintiffs in this action.
                     Counsel should register for e−filing via PACER and file a notice of appearance
                     pursuant to LCvR 83.6(a). Signed by Judge Beryl A Howell on March 20, 2023.
                     (lcbah4) (Entered: 03/20/2023)
   03/20/2023   36   RESPONSE TO ORDER OF THE COURT re Order,,, Directing the Plaintiff to
                     Provide a Detailed Explanation of the Timeline for Discovery Issues in Dispute filed
                     by RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1 Exhibit A, # 2 Exhibit
                     B)(Gottlieb, Michael) (Entered: 03/20/2023)


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   03/20/2023        MINUTE ORDER (paperless) DIRECTING that defendant Rudolph Giuliani appear
                     for the Discovery Hearing scheduled for March 21, 2023 at 9:40 AM via
                     videoconference before Judge Beryl A. Howell. Signed by Judge Beryl A Howell on
                     March 20, 2023. (lcbah4) (Entered: 03/20/2023)
   03/20/2023   37   ERRATA by RUBY FREEMAN, WANDREA MOSS re 36 Response to Order of the
                     Court,. (Gottlieb, Michael) (Entered: 03/20/2023)
   03/20/2023   38   MEMORANDUM by RUDOLPH GIULIANI. (Attachments: # 1 Exhibit Ex
                     A)(Sibley, Joseph) (Entered: 03/20/2023)
   03/21/2023   39   NOTICE of Appearance by Marie Annie Houghton−Larsen on behalf of RUBY
                     FREEMAN, WANDREA MOSS (Houghton−Larsen, Marie) (Entered: 03/21/2023)
   03/21/2023        Minute Entry for proceedings held before Judge Beryl A Howell: Discovery Hearing
                     held on 3/21/2023. An Order with directives and deadlines will be issued by the Court.
                     (Court Reporter Elizabeth Saint−Loth.) (ztg) (Entered: 03/21/2023)
   03/21/2023        MINUTE ORDER (paperless) DIRECTING, upon consideration of the parties'
                     responses to the Court's March 20, 2023 Minute Order, see Pls.' 36 Resp. to Order of
                     the Court; Def.'s 38 Memorandum, and the hearing held today, that

                     (1) by March 24, 2023, plaintiffs shall provide defendant with supplemental
                     interrogatories, as discussed at the hearing;
                     (2) by March 24, 2023, defendant shall (a) submit notice to the Court describing in
                     specific terms the data on the "Trust Point" database that were searched in response to
                     plaintiffs' Requests for Production (RFPs), including date range and contents (e.g.,
                     social media accounts, text messages, and communications on other messaging
                     platforms, such as Signal, Telegram, etc.); (b) what locations and data sources remain
                     for searches to be completed to respond fully to plaintiffs RFPs; (c) provide updated
                     complete responses to plaintiffs' Requests for Admission 82, 83, and 90; and (d)
                     provide updated initial disclosures to plaintiffs, pursuant to Federal Rule of Civil
                     Procedure 26(a);
                     (3) by March 30, 2023, defendant shall (a) complete searches and production of
                     responsive records to plaintiffs' RFPs; (b) provide responses in full to plaintiffs'
                     supplemental interrogatories; and
                     (4) by April 10, 2023, the parties shall jointly submit a status report apprising the
                     Court on their progress in resolving their discovery disputes, clarifying whether
                     plaintiffs intend to file any motion to compel and, if so, proposing a briefing schedule
                     for any motion to compel. Signed by Judge Beryl A Howell on March 21, 2023.
                     (lcbah4) (Entered: 03/21/2023)
   03/21/2023        Set/Reset Deadlines: Parties' responses to Order of the Court due by 3/24/2023;
                     defendant's complete searches and production of responsive records to plaintiffs'
                     requests for production, and responses in full to plaintiffs' supplemental interrogatories
                     due by 3/30/2023; Joint Status Report due by 4/10/2023. (ztg) (Entered: 03/21/2023)
   03/24/2023   40   STATUS REPORT re March 21, 2023 Minute Order by RUDOLPH GIULIANI.
                     (Sibley, Joseph) (Entered: 03/24/2023)
   03/29/2023   41   TRANSCRIPT OF PROCEEDINGS, before Judge Beryl A. Howell, held on
                     3−21−2023. Page Numbers: 1 − 47. Date of Issuance: 3−29−2023. Court Reporter:
                     Elizabeth SaintLoth, Telephone number 202−354−3242. Transcripts may be ordered
                     by submitting the Transcript Order Form


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                     For the first 90 days after this filing date, the transcript may be viewed at the
                     courthouse at a public terminal or purchased from the court reporter referenced above.
                     After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                     (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                     NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                     days to file with the court and the court reporter any request to redact personal
                     identifiers from this transcript. If no such requests are filed, the transcript will be made
                     available to the public via PACER without redaction after 90 days. The policy, which
                     includes the five personal identifiers specifically covered, is located on our website at
                     www.dcd.uscourts.gov.

                     Redaction Request due 4/19/2023. Redacted Transcript Deadline set for 4/29/2023.
                     Release of Transcript Restriction set for 6/27/2023.(Saint−Loth, Elizabeth) (Entered:
                     03/29/2023)
   04/10/2023   42   Joint STATUS REPORT by RUBY FREEMAN, WANDREA MOSS. (Attachments:
                     # 1 Exhibit A)(Gottlieb, Michael) (Entered: 04/10/2023)
   04/11/2023        MINUTE ORDER (paperless) Upon consideration of the parties' 42 joint status report,
                     and given that the parties are at an impasse regarding the sufficiency of defendant's
                     compliance with his discovery obligations, ISSUING the following SCHEDULING
                     ORDER: (1) By April 17, 2023, plaintiffs shall file any motion to compel; (2) by May
                     1, 2023, defendant shall file any opposition to plaintiff's motion; and (3) by May 8,
                     2023, plaintiffs shall file any reply. Signed by Judge Beryl A. Howell on April 11,
                     2023. (lcbah4) (Entered: 04/11/2023)
   04/12/2023        Set/Reset Deadlines: Motion to compel, if any, due by 4/17/2023; opposition due by
                     5/1/2023; reply due by 5/8/2023. (ztg) (Entered: 04/12/2023)
   04/17/2023   43   Unopposed MOTION for Protective Order by Office of the Secretary of State for the
                     State of Georgia. (Attachments: # 1 Text of Proposed Order Proposed Protective
                     Order)(Walsh, Daniel) Modified on event 4/19/2023 (znmw). (Entered: 04/17/2023)
   04/17/2023   44   MOTION to Compel by RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1
                     Declaration, # 2 Index of Exhibits, # 3 Exhibit 1, # 4 Exhibit 2, # 5 Exhibit 3, # 6
                     Exhibit 4, # 7 Exhibit 5, # 8 Exhibit 6, # 9 Exhibit 7, # 10 Exhibit 8, # 11 Exhibit 9, #
                     12 Exhibit 10, # 13 Exhibit 11, # 14 Exhibit 12, # 15 Exhibit 13, # 16 Text of
                     Proposed Order)(Governski, Meryl) (Entered: 04/17/2023)
   04/18/2023   45   PROTECTIVE ORDER. Signed by Judge Beryl A. Howell on April 18, 2023.
                     (lcbah4) (Entered: 04/18/2023)
   04/20/2023   46   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Sara Chimene−Weiss,
                     Filing fee $ 100, receipt number BDCDC−10015407. Fee Status: Fee Paid. by RUBY
                     FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration, # 2 Text of Proposed
                     Order)(Langford, John) (Entered: 04/20/2023)
   04/21/2023        NOTICE OF ERROR re 46 Motion for Leave to Appear Pro Hac Vice; emailed to
                     john.langford@protectdemocracy.org, cc'd 16 associated attorneys −− The PDF file
                     you docketed contained errors: 1. Please note the following deficiency and file/refile
                     document as instructed, 2. Motion must be signed and filed by the sponsoring
                     attorney. Please refile using the even ERRATA. (zed, ) (Entered: 04/21/2023)
   04/24/2023   47


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                     ERRATA by RUBY FREEMAN, WANDREA MOSS re 46 Motion for Leave to
                     Appear Pro Hac Vice,. (Attachments: # 1 Motion for Leave to Appear Pro Hac Vice, #
                     2 Declaration, # 3 Text of Proposed Order)(Governski, Meryl) (Entered: 04/24/2023)
   04/24/2023        MINUTE ORDER (paperless) GRANTING plaintiffs' 46 Motion for Sara
                     Chimene−Weiss to Appear Pro Hac Vice. Ms. Sara Chimene−Weiss may enter an
                     appearance pro hac vice for the purpose of representing plaintiffs in this action.
                     Counsel should register for e−filing via PACER and file a notice of appearance
                     pursuant to LCvR 83.6(a) Click for instructions. Signed by Judge Beryl A. Howell on
                     April 24, 2023. (lcbah4) (Entered: 04/24/2023)
   04/25/2023   48   STIPULATION (Joint Stipulation to Take Additional Depositions) by RUBY
                     FREEMAN, WANDREA MOSS. (Governski, Meryl) (Entered: 04/25/2023)
   04/27/2023        MINUTE ORDER (paperless) Upon consideration of the parties' 48 Joint Stipulation
                     to Amend the Joint Conference Report and Discovery Plan to Permit the Parties to
                     take up to Four Additional Depositions, AMENDING the 16 Joint Meet and Confer
                     Report to allow plaintiffs to take four additional depositions, for a total of fourteen
                     depositions. Signed by Judge Beryl A. Howell on April 27, 2023. (lcbah4) (Entered:
                     04/27/2023)
   04/28/2023   49   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Christine Kwon, Filing
                     fee $ 100, receipt number ADCDC−10034156. Fee Status: Fee Paid. by RUBY
                     FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration, # 2 Text of Proposed
                     Order)(Governski, Meryl) (Entered: 04/28/2023)
   05/01/2023   50   NOTICE of Appearance by John Tyler Knoblett on behalf of RUBY FREEMAN,
                     WANDREA MOSS (Knoblett, John) (Entered: 05/01/2023)
   05/01/2023   51   RESPONSE re 44 MOTION to Compel filed by RUDOLPH GIULIANI.
                     (Attachments: # 1 Declaration Ex A, # 2 Exhibit Ex B)(Sibley, Joseph) (Entered:
                     05/01/2023)
   05/02/2023        NOTICE OF ERROR regarding 49 MOTION for Leave to Appear Pro Hac Vice
                     :Attorney Name− Christine Kwon, Filing fee $ 100, receipt number
                     ADCDC−10034156. Fee Status: Fee Paid.. The following error(s) need correction: Pro
                     Hac Vice motion must be accompanied by a Certificate of Good Standing issued
                     within the last 30 days (LCvR 83.2(c)(2)). Please file certificate as an Errata (zed)
                     (Entered: 05/02/2023)
   05/02/2023   52   Joint MOTION for Protective Order by RUBY FREEMAN, WANDREA MOSS.
                     (Langford, John) (Entered: 05/02/2023)
   05/02/2023   53   ERRATA by RUBY FREEMAN, WANDREA MOSS re 49 Motion for Leave to
                     Appear Pro Hac Vice,. (Attachments: # 1 Exhibit 1)(Governski, Meryl) (Entered:
                     05/02/2023)
   05/02/2023        MINUTE ORDER (paperless) GRANTING plaintiffs' 49 Motion for Christine Kwon
                     to Appear Pro Hac Vice. Ms. Kwon may enter an appearance pro hac vice for the
                     purpose of representing plaintiffs in this action. Counsel should register for e−filing
                     via PACER and file a notice of appearance pursuant to LCvR 83.6(a) Click for
                     instructions. Signed by Judge Beryl A. Howell on May 2, 2023. (lcbah4) (Entered:
                     05/02/2023)
   05/02/2023   54   ORDER granting the parties' 52 Joint Motion for Protective Order. See order for
                     further details. Signed by Judge Beryl A. Howell on May 2, 2023. (lcbah4) (Entered:

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                     05/02/2023)
   05/05/2023   55   NOTICE of Appearance by Sara Chimene−Weiss on behalf of RUBY FREEMAN,
                     WANDREA MOSS (Chimene−Weiss, Sara) (Entered: 05/05/2023)
   05/08/2023   56   REPLY to opposition to motion re 44 MOTION to Compel filed by RUBY
                     FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration, # 2 Exhibit 1, # 3
                     Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9
                     Exhibit 8, # 10 Exhibit 9)(Governski, Meryl) (Entered: 05/08/2023)
   05/09/2023   57   NOTICE of Appearance by Christine Kwon on behalf of RUBY FREEMAN,
                     WANDREA MOSS (Kwon, Christine) (Entered: 05/09/2023)
   05/09/2023   58   Unopposed MOTION for Order Permitting Plaintiffs to Serve a Rule 45 Subpoena on
                     Third−Party Jenna Ellis via Alternative Service and Amending the Scheduling Order
                     to Permit Plaintiffs to Take Three Depositions After the Close of Fact Discovery re
                     Order on Motion for Extension of Time to Complete Discovery,,,, by RUBY
                     FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration of Attorney John
                     Langford in Support of Plaintiffs' Unopposed Motion, # 2 Exhibit 1 (Proposed
                     Subpoena to Jenna Ellis), # 3 Exhibit 2 (Def.'s First Am. Initial Disclosures), # 4
                     Exhibit 3 (Def.'s Second Am. Initial Disclosures), # 5 Exhibit 4 (Excerpt of Def.'s
                     Dep. Tr.), # 6 Exhibit 5 (Colo. Opinion Approving Stipulation to Discipline), # 7
                     Exhibit 6 (First Email Chain w/ Kleinbard Counsel), # 8 Exhibit 7 (Second Email
                     Chain w/ Kleinbard Counsel), # 9 Exhibit 8 (May 8, 2023, Aff. of Due Diligence), #
                     10 Exhibit 9 (April 23, 2023, Ellis Tweet), # 11 Exhibit 10 (May 9, 2023, Aff. of Due
                     Diligence), # 12 Exhibit 11 (Email Chain w/ Def.'s Counsel), # 13 Exhibit 12 (Email
                     Chain Between Private Investigator and USPS), # 14 Exhibit 13 (Ellis USPS Request),
                     # 15 Exhibit 14 (30(b)(6) Subpoena to Giuliani Partners LLC), # 16 Exhibit 15
                     (30(b)(6) Subpoena to Giuliani Communications LLC), # 17 Text of Proposed Order
                     Granting Plaintiffs' Unopposed Motion)(Langford, John) (Entered: 05/09/2023)
   05/10/2023        NOTICE OF HEARING: The parties shall take notice that a Discovery Hearing is
                     scheduled for 5/19/2023, at 11:00 AM in Courtroom 26A− IN PERSON before Judge
                     Beryl A. Howell. (ztg) (Entered: 05/10/2023)
   05/10/2023        MINUTE ORDER (paperless) GRANTING plaintiffs' 58 Unopposed Motion for
                     Order Permitting Plaintiffs to Serve a Rule 45 Subpoena on Third−Party Jenna Ellis
                     via Alternative Service and Amending the Scheduling Order to Permit Plaintiffs to
                     Take Three Depositions After the Close of Fact Discovery ("Pls.' Mot."), upon
                     consideration of this Motion and the accompanying affidavits indicating plaintiffs'
                     repeated efforts to contact and serve Jenna Ellis ["Ellis"], see [58−1] Declaration of
                     Attorney John Langford in Support of Pls.' Mot.; [58−7] First Email Chain with Ellis'
                     Counsel; [58−8] Second Email Chain with Ellis' Counsel; [58−9] May 8, 2023,
                     Affidavit of Due Diligence; [58−11] May 9, 2023, Affidavit of Due Diligence;
                     [58−12] Email Chain with Defendant's Counsel; [58−13] Email Chain Between
                     Private Investigator and USPS; and [58−14] Ellis USPS Request.

                     While Federal Rule of Civil Procedure 45(b)(1) contemplates that third−party
                     witnesses are to be personally served, see Call of the Wild Movie, LLC v. Does
                     1−1,062, 770 F. Supp. 2d 332, 362 (D.D.C. 2011) ("The Federal Rules of Civil
                     Procedure requires personal service of subpoenas. See FED. R. CIV.P. 45(b)(1)."),
                     "alternative forms of service may be acceptable under Rule 45," particularly "where
                     the witness is aware of the lawsuit, knows that one of the parties is interested in h[er]
                     testimony, and is aware that there have been multiple attempts at personal service, and

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                     where the proposed alternative service is reasonably designed to insure the witness'
                     receipt of the subpoena," Order, OAO Alfa Bank v. Ctr. For Public Integrity, No.
                     1:00−cv−02208−JDB (D.D.C. Jan. 6, 2004); accord United States ex rel. El−Amin v.
                     George Washington Univ. , No. 1:95−cv−02000−CKK, 2000 U.S. Dist. LEXIS 15635,
                     at *34 (D.D.C. Oct. 23, 2000); Order, Rich v. Butowsky, No. 18−cv−681−RJL (D.D.C.
                     Jan. 24, 2020), ECF No. 133; Minute Order (Dec. 20, 2022) (authorizing service of
                     Rule 45 Subpoena on third−party Katherine Friess via Alternative Methods).

                     Here, these factors are fully met: (1) Ellis is likely aware of this lawsuit, given that she
                     was added to defendant's initial disclosures, plaintiffs have attempted to serve her
                     three times at an address where she is believed to have recently resided and where her
                     mother currently resides−−including one attempt in which "a woman was in the house
                     when the process server attempted service, but refused to come to the door"−−and they
                     have contacted lawyers known to have represented Ellis in another matter and who
                     indicated that they were discussing plaintiffs' request with Ellis, Pls.' Mot. at 7−8,
                     11−12; and (2) plaintiffs have offered six other forms of service that will give actual
                     notice of the action to Ellis, id. at 12−13.

                     Accordingly, plaintiffs are DIRECTED to serve a third−party subpoena on Jenna Ellis
                     by each of the following means: (1) emailing a copy of this order authorizing
                     alternative service and the subpoena to Ellis's lawyers with whom they have been
                     conferring with regarding Ellis's compliance with the subpoena in this matter, (2)
                     sending a copy of the order and confirmatory copy of the subpoena to the Colorado
                     address where plaintiffs have attempted to serve Ellis three times, (3) emailing a copy
                     of the order and confirmatory copy of the subpoena to the email addresses plaintiffs
                     have for Ellis, (4) sending a copy of the order and confirmatory copy of the subpoena
                     to Ellis via direct message to her Twitter account, where she announced her recent
                     move to an unknown address in Florida, see [58−10] April 23, 2023, Ellis Tweet, (5)
                     sending a copy of the order and confirmatory copy of the subpoena to Ellis via direct
                     message to her Instagram account, and (6) sending a copy of the order and
                     confirmatory copy of the subpoena to Ellis via direct message to her Facebook
                     account. It is further ORDERED that plaintiffs may take the deposition of Ellis,
                     Giuliani Partners LLC, and Giuliani Communications LLC after fact discovery closes
                     on May 22, 2023. Signed by Judge Beryl A. Howell on May 10, 2023. (lcbah4)
                     (Entered: 05/10/2023)
   05/17/2023   59   Unopposed MOTION for Order Permitting Plaintiffs to Notice for Deposition and
                     Depose Third−Party Ray Smith After the Close of Fact Discovery and for Clarification
                     of the Scheduling Order by RUBY FREEMAN, WANDREA MOSS. (Attachments: #
                     1 Declaration of Attorney Von A. DuBose in Support of Plaintiffs' Unopposed Motion,
                     # 2 Exhibit 1 (Email from Mr. Evans), # 3 Text of Proposed Order)(Langford, John)
                     (Entered: 05/17/2023)
   05/18/2023        MINUTE ORDER (paperless) Upon consideration of plaintiffs' 59 Unopposed Motion
                     for Order Permitting Plaintiffs to Notice for Deposition and Depose Third−Party Ray
                     Smith After the Close of Fact Discovery and for Clarification of the Scheduling Order
                     ("Motion"), GRANTING plaintiffs' Motion; ORDERING that plaintiffs are permitted
                     to notice for deposition and depose third−party Ray Smith after the close of fact
                     discovery on May 22, 2023; and CLARIFYING that the SCHEDULING ORDER
                     issued on August 31, 2022 permits both parties to produce documents after the fact
                     discovery period ends on May 22, 2023, so long as their respective discovery requests
                     and subpoenas were properly propounded and served before May 22, 2023. Signed by


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                 Judge Beryl A. Howell on May 18, 2023. (lcbah4) (Entered: 05/18/2023)
   05/19/2023    Minute Entry for proceedings held before Judge Beryl A. Howell: Discovery Hearing
                 held on 5/19/2023. Written order to be issued by the Court. (Court Reporter Elizabeth
                 Saint−Loth.) (ztg) (Entered: 05/19/2023)
   05/19/2023    MINUTE ORDER (paperless): Upon consideration of plaintiffs' 44 Motion to Compel
                 Discovery, For Attorneys' Fees and Costs, and For Sanctions ("Motion"), defendant's
                 51 Response to Plaintiffs' Motion to Compel, plaintiffs' 56 Reply in Support of
                 Plaintiffs' Motion, and the parties' representations to the Court in the proceedings held
                 on May 19, 2023 regarding plaintiffs' Motion, GRANTING plaintiffs' Motion in part,
                 and RERSERVING ruling in part.

                 Specifically, plaintiffs' Motion is GRANTED as follows:

                 1) by May 30, 2023, defendant Rudolph W. Giuliani shall file a declaration, subject to
                 penalty of perjury, that details:

                   a) All efforts taken to preserve, collect, and search potentially responsive data and
                 locations that may contain responsive materials to all of plaintiffs' Requests for
                 Production (RFP);
                   b) A complete list of all "locations and data" that defendant used to communicate
                 about any materials responsive to any of Plaintiffs' RFPs (including, but not limited to,
                 specific email accounts, text messaging platforms, other messaging applications, social
                 media, devices, hardware, and any form of communication);
                   c) The specific "data" located in the TrustPoint database, including−−
                     i) a list identifying the source devices from which the data was extracted or
                 obtained;
                     ii) for each such device, the type of device (i.e., iPhone, Macbook, laptop, iPad,
                 etc.) and user, if known;
                     iii) a list identifying any social media accounts, messaging applications, and email
                 accounts from which the data was extracted or obtained; and
                     iv) for each such account and application, the account name and user; and
                   d) What searches, if any, have occurred as to both categories (b) and (c), see
                 Plaintiffs' [44−16] Proposed Order Granting Plaintiffs' Motion; and

                 2) By May 30, 2023, in order to evaluate defendant's claim of an inability to afford the
                 cost of access to, and search of, the TrustPoint dataset or to use a professional vendor,
                 either to access the original electronic devices seized from defendant by the Federal
                 Bureau of Investigation in April 2021 and returned to defendant, or, alternatively, to
                 conduct a search of the archived TrustPoint dataset, defendant is DIRECTED to
                 produce to plaintiffs:

                  a) full and complete responses to plaintiffs' requests for financial information in RFP
                 Nos. 40 and 41; and
                  b) documentation to support his estimated costs for further searches on the
                 TrustPoint dataset.

                 3) By June 16, 2023, plaintiffs are DIRECTED to submit to the Court an assessment
                 of defendant's ability to bear the cost of further searches, along with any response to
                 defendant's submission required under paragraph 1, above; and



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                     4) By June 30, 2023, defendant shall file any response to plaintiffs' submission
                     required under paragraph 3, above.

                     The Court RESERVES ruling on the remainder of plaintiffs' relief, pending the parties'
                     compliance with directions set out in paragraphs 1) through 4), above. Signed by
                     Judge Beryl A. Howell on May 19, 2023. (lcbah4) (Entered: 05/19/2023)
   05/22/2023        Set/Reset Deadlines: Defendant Rudolph W. Giuliani's declaration due by 5/30/2023.
                     Defendant's responses and documentation due by 5/30/2023. Plaintiffs' assessment due
                     by 6/16/2023. Defendant's response to plaintiffs' submission due by 6/30/2023. (hmc)
                     (Entered: 05/22/2023)
   05/30/2023   60   DECLARATION re May 19, 2023 Minute Order by RUDOLPH GIULIANI. (Sibley,
                     Joseph) (Entered: 05/30/2023)
   05/30/2023   61   MOTION for Reconsideration of May 19, 2023 Minute Order by RUDOLPH
                     GIULIANI. (Sibley, Joseph) (Entered: 05/30/2023)
   05/31/2023        MINUTE ORDER (paperless): Upon consideration of defendant's 61 Motion for
                     Reconsideration of the Court's May 19, 2023 Minute Order ("defendant's 61 Motion")
                     and defendant's 60 Declaration, STAYING defendant's compliance with paragraph 2
                     of the Courts May 19, 2023 Minute Order ("May 19 Order"), which required
                     defendant to produce, by May 30, 2023, "full and complete responses to plaintiffs'
                     requests for financial information in [Request for Production ("RFP")] Nos. 40 and
                     41," and AMENDING the SCHEDULING ORDER outlined in the May 19 Order as
                     follows:

                     &nbsp&nbsp&nbsp&nbsp&nbsp(1) By June 14, 2023, plaintiffs shall file any
                     combined opposition to defendant's 61 Motion and any response regarding the
                     sufficiency of defendant's 60 Declaration; and
                     &nbsp&nbsp&nbsp&nbsp&nbsp(2) By June 21, 2023, defendant shall file any reply
                     in support of his 61 Motion and response to plaintiffs' submission under paragraph 1,
                     above; and

                     In light of defendant's representation that he has obtained adequate funds to "cure[] the
                     arrearage with TrustPoint and the data is in the process of being unarchived" and that
                     he is "preparing to search the TrustPoint database for all files during the relevant time
                     frame beyond simply files with email extensions," Def.'s 60 Declaration at 4−5, and
                     finding that defendant's access to funds necessary to comply with his discovery
                     obligations warrants further consideration of the relief requested in plaintiffs' 44
                     Motion to Compel Discovery, For Attorneys' Fees and Costs, and For Sanctions
                     ("plaintiffs' 44 Motion"), for which ruling was reserved in part, pending assessment of
                     defendant's financial information in response to RFP Nos. 40 and 41, further
                     DIRECTING that:

                     &nbsp&nbsp&nbsp&nbsp(3) By June 16, 2023, defendant shall search and produce
                     all materials responsive to plaintiffs' RFPs, with the exception of RFP Nos. 40 and 41,
                     within the date ranges agreed to by the parties, with the assistance of a professional
                     vendor, and produce a privilege log specifically tailored to the searches he has
                     performed for materials responsive to plaintiffs' RFPs; and
                     &nbsp&nbsp&nbsp&nbsp(4) By June 30, 2023, the parties shall jointly submit a
                     status report on discovery compliance and any outstanding issues.



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                     The Court RESERVES ruling on the remainder of the relief requested in plaintiffs' 44
                     Motion, pending the parties' compliance with paragraphs (1) through (4), above.
                     Signed by Judge Beryl A. Howell on May 31, 2023. (lcbah4) (Entered: 05/31/2023)
   06/01/2023        Set/Reset Deadlines: Plaintiffs' combined opposition to defendant's 61 Motion and any
                     response regarding the sufficiency of defendant's 60 Declaration due by 6/14/2023;
                     defendant's reply in support of his 61 Motion and response to plaintiffs' submission
                     under paragraph 1 due by 6/21/202; defendant's search and production of all materials
                     responsive to plaintiffs' RFPs, with the exception of RFP Nos. 40 and 41, within the
                     date ranges agreed to by the parties, with the assistance of a professional vendor, and
                     production of a privilege log specifically tailored to the searches he has performed for
                     materials responsive to plaintiffs' RFPs due by 6/16/2023; Joint Status Report due by
                     6/30/2023. (ztg) (Entered: 06/01/2023)
   06/05/2023   62   Joint MOTION for an Order Altering the August 31, 2022, Scheduling Order
                     Regarding Expert Discovery by RUBY FREEMAN, WANDREA MOSS.
                     (Attachments: # 1 Text of Proposed Order)(Langford, John) (Entered: 06/05/2023)
   06/05/2023        MINUTE ORDER (paperless) GRANTING the parties' 62 Joint Motion for an Order
                     Altering the August 31, 2022 Scheduling Order, and AMENDING the SCHEDULING
                     ORDER entered on August 31, 2022 as follows:

                     1. By July 28, 2023, all experts shall be designated with required expert disclosures,
                     and by August 11, 2023, any rebuttal experts designated with required rebuttal expert
                     disclosures;
                     2. By September 1, 2023, expert discovery shall be completed, and the parties shall
                     file a joint status report advising the Court whether (a) they request referral for
                     mediation or settlement; (b) they request a date for a pretrial conference; or (c)
                     dispositive motions are anticipated; and
                     3. By September 11, 2023, the parties shall file any dispositive motions, with any
                     opposition due on September 25, 2023, and any replies due October 2, 2023. Signed
                     by Judge Beryl A. Howell on June 5, 2023. (lcbah4) Modified deadline date on
                     6/6/2023 (ztg). (Entered: 06/05/2023)
   06/09/2023   63   MOTION to Compel Bernard Kerik to Produce A Document−by−Document Privilege
                     Log and Improperly Withheld Materials and Testimony by RUBY FREEMAN,
                     WANDREA MOSS. (Attachments: # 1 Declaration of M. Annie Houghton−Larsen, #
                     2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8
                     Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit
                     12, # 14 Exhibit 13, # 15 Text of Proposed Order)(Gottlieb, Michael) (Entered:
                     06/09/2023)
   06/14/2023   64   RESPONSE re 61 MOTION for Reconsideration of May 19, 2023 Minute Order
                     (Plaintiffs' Combined Opposition to Defendant Giuliani's Motion for Reconsideration
                     and Response to Defendant's Declaration) filed by RUBY FREEMAN, WANDREA
                     MOSS. (Attachments: # 1 Declaration Declaration of M. Annie Houghton−Larsen, # 2
                     Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8
                     Exhibit 7, # 9 Exhibit 8)(Governski, Meryl) (Entered: 06/14/2023)
   06/16/2023   65   MOTION to Compel Giuliani Partners and Giuliani Communications to Respond to
                     Plaintiffs' Properly−Served Rule 45 Subpoenas by RUBY FREEMAN, WANDREA
                     MOSS. (Attachments: # 1 Declaration, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5
                     Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Text of Proposed Order)(Governski, Meryl)
                     (Entered: 06/16/2023)

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   06/16/2023   66   Unopposed MOTION for Extension of Time to Extend Tine to Comply With Minute
                     Order by RUDOLPH GIULIANI. (Sibley, Joseph) (Entered: 06/16/2023)
   06/16/2023        MINUTE ORDER (paperless) GRANTING defendant's unopposed 66 Motion for
                     Extension of Time, and AMENDING the SCHEDULING ORDER outlined in the
                     May 31, 2023 Minute Order as follows: (1) By June 30, 2023, defendant shall produce
                     all materials responsive to plaintiffs' RFPs, with the exception of RFP Nos. 40 and 41,
                     within the date ranges agreed to by the parties, with the assistance of a professional
                     vendor, and produce a privilege log specifically tailored to the searches he has
                     performed for materials responsive to plaintiffs' RFPs. Signed by Judge Beryl A.
                     Howell on June 16, 2023. (lcbah4) (Entered: 06/16/2023)
   06/16/2023   72   NOTICE by RUDOLPH GIULIANI related to ECF 66 Request for Extension of Time
                     to Comply with the May 31, 2023, Minute Order. (ztg) (Main Document 72 replaced
                     on 6/27/2023) (zed). (Entered: 06/23/2023)
   06/20/2023   71   NOTICE of Discovery Dispute requesting a discovery hearing by RUBY FREEMAN,
                     et al. (ztg) (Main Document 71 replaced on 6/27/2023) (zed). (Entered: 06/23/2023)
   06/21/2023        MINUTE ORDER (paperless) DIRECTING plaintiffs to file, ex parte and under seal
                     on the docket, by 2 PM on June 21, 2023 (today) a copy of the settlement agreement,
                     for which the terms and relevancy are at issue in the discovery dispute referenced in
                     the parties' June 20, 2023 email, submitted in accordance with 4 Standing Order &para
                     8(a). Signed by Judge Beryl A. Howell on June 21, 2023. (lcbah4) (Entered:
                     06/21/2023)
   06/21/2023   67   SEALED DOCUMENT filed by RUBY FREEMAN, WANDREA MOSS re Order,
                     (This document is SEALED and only available to authorized persons.)(Langford,
                     John) (Entered: 06/21/2023)
   06/21/2023   68   NOTICE of Appearance by Timothy Ryan on behalf of RUBY FREEMAN,
                     WANDREA MOSS (Ryan, Timothy) (Entered: 06/21/2023)
   06/21/2023   69   Consent MOTION to Withdraw 65 MOTION to Compel Giuliani Partners and
                     Giuliani Communications to Respond to Plaintiffs' Properly−Served Rule 45
                     Subpoenas by RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1 Text of
                     Proposed Order for Consent Motion to Withdraw Giuliani Businesses and Replace
                     with Revised Motion to Compel Giuliani Businesses, # 2 Exhibit A − Revised Motion
                     to Compel Giuliani Partners and Giuliani Communications, # 3 Exhibit B − Redline of
                     Revised Motion to Compel, # 4 Exhibit C − Proposed Order for Revised Motion to
                     Compel, # 5 Exhibit D − Redline of Proposed Order for Revised Motion to
                     Compel)(Governski, Meryl) (Entered: 06/21/2023)
   06/21/2023        NOTICE of DISCOVERY HEARING: Discovery Hearing set for 6/22/2023, at 10:00
                     AM via videoconference before Judge Beryl A. Howell. (ztg) (Entered: 06/22/2023)
   06/22/2023        MINUTE ORDER (paperless) GRANTING plaintiffs' 69 Consent Motion to
                     Withdraw their 65 MOTION to Compel Giuliani Partners and Giuliani
                     Communications to Respond to Plaintiffs' Properly−Served Rule 45 Subpoenas, and
                     DIRECTING plaintiffs to file on the docket the [69−2] Revised Motion to Compel,
                     and any accompanying materials, including the revised declaration and exhibits and
                     revised proposed order. Signed by Judge Beryl A. Howell on June 22, 2023. (lcbah4)
                     (Entered: 06/22/2023)
   06/22/2023


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                     Minute Entry for proceedings held before Judge Beryl A. Howell: Discovery Hearing
                     held on 6/22/2023. (Court Reporter Elizabeth Saint−Loth.) (ztg) (Entered: 06/22/2023)
   06/22/2023   70   MOTION to Compel Giuliani Partners and Giuliani Communications to Respond to
                     Plaintiffs' Properly−Served Rule 45 Subpoenas and Rule 30(b)(6) Deposition
                     Subpoenas by RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1 Text of
                     Proposed Order, # 2 Declaration of Meryl Governski, # 3 Exhibit 1, # 4 Exhibit 2, # 5
                     Exhibit 3, # 6 Exhibit 4, # 7 Exhibit 5, # 8 Exhibit 6, # 9 Exhibit 7, # 10 Exhibit 8, #
                     11 Exhibit 9)(Governski, Meryl) (Entered: 06/22/2023)
   06/22/2023        MINUTE ORDER (paperless) DIRECTING plaintiffs to produce, by 5 PM on June
                     22, 2023 (today), the 67 Settlement Agreement between plaintiffs and former
                     defendants Herring Networks, Inc., Charles Herring, Robert Herring, and Chanel Rion,
                     to counsel for defendant Giuliani with the Settlement Agreement designated as
                     "Highly Confidential Information −− Attorneys' Eyes Only," pursuant to the governing
                     54 Protective Order, for the reasons explained at the video teleconference held on June
                     22, 2023 regarding the parties' discovery dispute concerning defendant's request for
                     production of the 67 Settlement Agreement, see Jun. 20, 2023 Email summarizing the
                     parties' position and position of former defendants, in compliance with the 4 Standing
                     Order &para 8(a). Signed by Judge Beryl A. Howell on June 22, 2023. (lcbah4)
                     (Entered: 06/22/2023)
   06/22/2023        MINUTE ORDER (paperless) DIRECTING, upon consideration of plaintiffs' 69
                     Consent Motion to Withdraw their 65 Motion to Compel Giuliani Partners LLC and
                     Giuliani Communications LLC (collectively, "Giuliani Businesses") to Respond to
                     Plaintiffs' Properly−Served Rule 45 Subpoenas ("Pls.' Mot."), and representations set
                     out therein that the Giuliani Businesses have not responded to plaintiffs' document and
                     deposition subpoenas nor provided any information about representation for these
                     companies or who will be designated as a corporate representative for noticed
                     depositions under Fed. R. Civ. P. 30(b)(6), Pls.' Mot. at 3, and that counsel for
                     defendant Rudolph Giuliani confirmed at the video teleconference held today that
                     defendant has not responded to his own counsel's request for information regarding
                     discovery from his eponymous businesses, that, by June 26, 2023 at 5:00 PM,
                     defendant Rudolph Giuliani submit a declaration, subject to penalty of perjury, that:

                     1. Identifies the owner(s) and principal(s) for each of the Giuliani Businesses;
                     2. Identifies the employees, including both full−time and part−time, at each of the
                     Giuliani Businesses during the time period of September 1, 2020 to January 21, 2022,
                     with beginning and end dates of employment at either or both of the Giuliani
                     Businesses;
                     3. Identifies any current employee at either or both of the Giuliani Businesses, and the
                     beginning date of employment for each current employee;
                     4. Identifies the attorney(s), with contact information, representing each of the Giuliani
                     Businesses;
                     5. Indicates whether either of the Giuliani Businesses has any assets or is defunct; and
                     6. Confirms that in complying with the Court's May 31, 2023 Minute Order (as
                     amended by the June 16, 2023 Minute Order), which directed that defendant, by June
                     30, 2023, "produce all materials responsive to plaintiffs' RFPs, with the exception of
                     RFP Nos. 40 and 41, within the date ranges agreed to by the parties...," that defendant
                     is collecting, searching, and producing responsive materials from the Giuliani
                     Businesses, and, if not, provide an explanation. Signed by Judge Beryl A. Howell on
                     June 22, 2023. (lcbah4) (Entered: 06/22/2023)



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   06/22/2023    MINUTE ORDER (paperless) DENYING defendant's 61 Motion for Reconsideration
                 of the May 19, 2023 Minute Order ("Def.'s Mot."), which, in relevant part, required
                 defendant to produce to plaintiffs "full and complete responses to plaintiffs' requests
                 for financial information in RFP Nos. 40 and 41," May 19, 2023 Minute Order ("May
                 Order"), and DIRECTING defendant to comply with the May Order to produce
                 responses to plaintiffs' Request for Production ("RFP") Nos. 40 and 41 by June 30,
                 2023, in accordance with the May Order (as amended by the June 16, 2023 Minute
                 Order).

                 Plaintiffs' RFP Nos. 40 and 41 request certain financial information from defendant.
                 See Pls.' 44 Motion to Compel Discovery, For Attorneys' Fees and Costs, and For
                 Sanctions at 8−9 n.4 (providing text of plaintiffs' RFP Nos. 40 and 41); see also Pls.'
                 64 Combined Opposition to Def.'s 61 Motion for Reconsideration and Response to
                 Defendant's Declaration ("Pl.'s Opp'n") at 8−11. While defendant fails to cite any
                 authority for reconsideration, his motion is construed as seeking reconsideration, under
                 Federal Rule of Civil Procedure 54(b), which allows "any order" that "adjudicates
                 fewer than all the claims" in a case to "be revised at any time before the entry of a
                 judgment adjudicating all the claims," Fed. R. Civ. P. 54(b), and thereby gives district
                 courts "discretion to hear motions for reconsideration 'as justice requires.'" Lin v.
                 District of Columbia, 47 F.4th 828, 838−39 (D.C. Cir. 2022) (quoting Capitol
                 Sprinkler Inspection, Inc. v. Guest Servs., Inc., 630 F.3d 217, 227 (D.C. Cir. 2011)
                 (approving flexible "as justice requires" standard)); see also Shatsky v. PLO, 955 F.3d
                 1016, 1035 (D.C. Cir. 2020) (observing that "a minute order is open to reconsideration
                 on the same terms as a lengthy opinion reaching the same result"). "Justice may
                 require revision when the Court has patently misunderstood a party, has made a
                 decision outside the adversarial issues presented to the Court by the parties, has made
                 an error not of reasoning but of apprehension, or where a controlling or significant
                 change in the law or facts has occurred since the submission of the issue to the Court."
                 Singh v. George Washington Univ. , 383 F. Supp. 2d 99, 101 (D.D.C. 2005) (cleaned
                 up). Despite the flexibility allowed under Rule 54(b), given the tax on parties' and
                 judicial resources from revisiting issues already resolved and the concomitant perverse
                 incentive to invite litigation delay by such reconsideration requests, "a court 'should be
                 loathe' to grant a motion for reconsideration 'in the absence of extraordinary
                 circumstances such as where the initial decision was clearly erroneous and would
                 work a manifest injustice.'" Kirwa v. U.S. Dep't of Def. , No. CV 17−1793 (ESH),
                 2018 WL 7141989, at *1 (D.D.C. May 23, 2018) (quoting Marshall v. Honeywell
                 Tech. Sols., Inc., 598 F. Supp. 2d 57, 59 (D.D.C. 2009)).

                 Defendant presents no new argument warranting reconsideration. See Capitol
                 Sprinkler Inspection, Inc., 630 F.3d at 227 (affirming district court's denial of
                 reconsideration where party seeking reconsideration "raised no arguments for
                 reconsideration the court had not already rejected on the merits"). Defendant argues
                 discovery of financial information, as demanded in plaintiffs' RFP Nos. 40 and 41,
                 should be granted only after plaintiffs have made a prima facie case supporting a claim
                 for punitive damages, see Def.'s Mot., contending that this "view [ ] has been
                 recognized repeatedly in this District," id. (citing D'Onofrio v. SFX Sports Grp., Inc.,
                 247 F.R.D. 43, 52 (D.D.C. 2008)). While in D'Onforio v. SFX Sports Group, the
                 production of "[i]nformation pertaining to [ ] defendant's financial condition" was
                 postponed until the defendant's financial condition was placed at issue or in the event
                 that the jury considered punitive damages, the magistrate judge deciding this case
                 acknowledged that "a majority of federal trial courts" "have permitted pretrial
                 discovery of financial information of the defendant without requiring plaintiff to

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                 establish a prima facie case on the issue of punitive damages." 247 F.R.D. at 52
                 (cleaned up). By contrast to the non−binding decision in D'Onforio, three persuasive
                 justifications underpin the majority approach. "First, knowledge of defendant's net
                 worth will be of value to both sides in making a realistic appraisal of the case, and may
                 lead to settlement and avoid protracted litigation." Mid Continent Cabinetry, Inc. v.
                 George Koch Sons, Inc., 130 F.R.D. 149, 152 (D. Kan. 1990). "Second, the
                 requirement that claimant establish a prima facie case applies to the admissibility of
                 evidence about financial status, not its discoverability." Id. Delaying plaintiffs' ability
                 to discover relevant information to develop their claims for punitive damages "would
                 only lead to delay and confusion while plaintiff reviews the information for the first
                 time." Id. "Third, while a party does have an interest in nondisclosure and
                 confidentiality of its financial records, this interest can be adequately protected by a
                 protective order." Id. Under the governing 54 Protective Order in this case, defendant
                 may designate his financial records for special confidential treatment to ensure that his
                 financial information is used for the limited purposes of discovery and not otherwise
                 shared with the public.

                 Moreover, D'Onforio, and the two cases on which it relies−−Skinner v. Aetna Life
                 Insurance Company, No. 83−cv−0679, 1984 U.S. Dist. LEXIS 19817 (D.D.C. Feb. 2,
                 1984) ("Skinner") and John Does IVI v. Yogi, 110 F.R.D. 629 (D.D.C. 1986)
                 ("Yogi")−−are distinguishable on their facts not only because the policy underpinnings
                 of the majority view were not considered, but also because the requested financial
                 information was found not to be relevant to the claims or was not at issue. See
                 D'Onforio, 47 F.R.D. at 52−53 (magistrate judge denying plaintiffs' motion to compel
                 production of defendants' financial information in a Title VII discrimination case
                 because the information was not relevant to claims but only relevant "to the issue of
                 whether punitive damages should be awarded"); Skinner, 1984 U.S. Dist. LEXIS
                 19817, at *2−3 (magistrate judge denying motion to compel production of defendant's
                 financial information in a breach of contract action because information was only
                 relevant to a claim for punitive damages); Yogi, 110 F.R.D. at 631−33 (considering
                 issue of whether "confidential" designation of defendant's financial records would too
                 "severely restrict access" and not whether production of such documents was
                 appropriate). By contrast, here, defendant's financial condition is relevant to both
                 liability and punitive damages. As plaintiffs argue, these financial records, including
                 changes in defendant's financial status over time, may indicate that defendant had a
                 financial motive to make certain claims concerning plaintiffs to allow him to earn
                 "additional income or increased viewership or followers[.]" See Pls.' Opp'n at 10−11.
                 See also, e.g., US Dominion, Inc. v. Byrne, 600 F. Supp. 3d 24, 33 (D.D.C. 2022)
                 (explaining that plaintiff's allegation that defendant "had a financial motive to make
                 his false claims" could show alleged actual malice in a defamation claim); US
                 Dominion, Inc. v. Powell, 554 F. Supp. 3d 42, 63−64 (D.D.C. 2021) (holding that
                 allegations of a "profit motive" could, with supporting factual allegations, "satisfy the
                 actual malice standard" in a defamation claim). Defendant has filed no reply in support
                 of his reconsideration motion, see May 31, 2023 Minute Order (setting June 21, 2023
                 as due date for any reply), and has made no request for an extension of time to file
                 such reply, despite the opportunity to do so orally at today's video conference in this
                 case, and thus leaves undisputed plaintiff's argument that his financial information is
                 relevant to both liability and punitive damages.

                 Accordingly, defendant's 61 Motion for Reconsideration is DENIED. Signed by Judge
                 Beryl A. Howell on June 22, 2023. (lcbah4) (Entered: 06/22/2023)



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   06/23/2023    MINUTE ORDER (paperless) Upon consideration of plaintiffs' 44 Motion to Compel
                 Discovery, For Attorneys' Fees and Costs, and For Sanctions ("Pls.' Motion"),
                 defendant Rudolph W. Giuliani's 51 Response to Plaintiffs' Motion to Compel ("Def.'s
                 Opp'n"), plaintiffs' 56 Reply in Support of Plaintiffs' Motion, and the parties'
                 representations to the Court in the proceedings held on May 19, 2023 ("May 19
                 Hearing") regarding plaintiffs' Motion, GRANTING plaintiffs' request for attorneys'
                 fees and costs in their 44 Motion, and DIRECTING defendant to pay for plaintiffs'
                 attorneys' fees and costs for their 44 Motion by July 7, 2023, subject to a filing by
                 plaintiffs, by June 30, 2023, detailing the costs and fees incurred in preparation for the
                 Motion and the May 19 Hearing, for the reasons outlined below.

                 In nearly all respects, Plaintiffs' requested relief has been granted. See [44−16] Pls.'
                 Proposed Order Granting Plaintiffs' Motion (outlining plaintiffs' requested relief); May
                 19, 2023 Minute Order (directing defendant to detail his preservation efforts and
                 respond to plaintiffs' RFPs 40 and 41); May 31, 2023 Minute Order (as amended by
                 the June 16, 2023 Minute Order) (directing defendant to "produce all materials
                 responsive to plaintiffs' RFPs... within the date ranges agreed to by the parties... "); see
                 also June 22, 2023 Minute Order (denying defendant's 61 Motion for Reconsideration
                 of the May 19, 2023 Minute Order). Federal procedural rules require, upon the
                 granting of a motion to compel, that "the court must... require the party or deponent
                 whose conduct necessitated the motion, the party or attorney advising that conduct, or
                 both to pay the movant's reasonable expenses incurred in making the motion,
                 including attorney's fees." Fed. R. Civ. P. 37(a)(5)(A); accord Parsi v. Daioleslam,
                 778 F.3d 116, 126 (D.C. Cir. 2015); see also DL v. District of Columbia, 251 F.R.D.
                 38, 49 (D.D.C. 2008) (observing that the language of Rule 37(a)(5)(A) "itself is
                 mandatory, dictating that the Court must award expenses upon granting a motion to
                 compel disclosure unless one of the specified bases for refusing to make such an
                 award is found to exist"). The non−movant may be relieved of these costs only when
                 the party was "'substantially justified' in its resistance to discovery, the prevailing party
                 did not attempt to obtain discovery in good faith before moving to compel, or an
                 expense award would be otherwise unjust." Parsi, 778 F.3d at 126; see also Fed. R.
                 Civ. P. 37(a)(5)(A)(i)−(iii). District courts are given broad discretion in deciding
                 whether to impose Rule 37 sanctions and what sanctions to impose. Bonds v. District
                 of Columbia, 93 F.3d 801, 807−08 (D.C. Cir. 1996). Additionally, the non−movant
                 facing sanctions bears the burden to establish that the failure was substantially justified
                 or harmless or the imposition of sanctions would be unjust. See Parsi, 778 F.3d at 128
                 n.13.

                 None of the enumerated exceptions to the mandatory imposition of costs set out in
                 Rule 37(a)(5)(A) apply here. First, plaintiffs filed their Motion "only after 'attempting
                 in good faith to obtain the disclosure or discovery without court action,'" and after
                 "participat[ing] in a discovery conference with the Court which provided Defendant
                 additional opportunity to cure deficiencies[.]" Pls.' Mot. at 27 (quoting Fed. R. Civ. P.
                 37(a)(5)(A)(i)). Second, defendant has not established that his "nondisclosure,
                 response, or objection" has been "substantially justified." Fed. R. Civ. P.
                 37(a)(5)(A)(ii). "The Supreme Court has stated that a party meets the 'substantially
                 justified' standard when there is a 'genuine dispute' or if 'reasonable people could
                 differ' as to the appropriateness of the motion." Alexander v. FBI, 186 F.R.D. 144, 147
                 (D.D.C. 1999) (quoting Pierce v. Underwood, 487 U.S. 552, 565 (1988)). No
                 reasonable person would disagree on the appropriateness of the motion. Given that,
                 prior to the filing of plaintiffs' motion to compel, defendant (1) arbitrarily limited his
                 search of the TrustPoint server−−which contained his responsive records from prior to

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                 April 2021−−to solely email communications, (2) conducted only an imprecise
                 "manual search" of his text messages, email accounts, and other messaging platforms
                 for other responsive records after April 2021, see Def.'s Opp'n at 3−6, (3) delayed
                 responding to plaintiff's discovery requests for nearly ten months, see Pls.' Mot. at 27,
                 and (4) has now produced an additional 4,000 pages in discovery, see 72 Jun. 16, 2023
                 Notice by Defendant Related to His 66 Request for Extension of Time to Comply with
                 the May 31, 2023, Minute Order, plaintiffs were plainly justified in bringing their
                 motion to compel. See DL, 251 F.R.D. at 49 ("[T]he District's pattern of tardy and
                 piecemeal disclosure, and the fact that approximately 6,000 pages of responsive
                 documents were turned over after plaintiffs' renewed motion to compel was filed,
                 demonstrate that filing a motion to compel was the only adequate remedy available to
                 plaintiffs."); DR Distributors, LLC v. 21 Century Smoking, Inc., 513 F. Supp. 3d 839,
                 960 (N.D. Ill. 2021) ("Untimely disclosures and discovery responses and supplements
                 to them are generally not substantially justified or harmless."). Moreover, the fact that
                 plaintiffs' requested relief has been granted, see Minute Orders (dated May 19, May 31
                 and June 22, 2023), further confirms that their motion was "substantially justified."
                 See DL, 251 F.R.D. at 49 ("The Court's overwhelming decision for the plaintiffs on the
                 merits of their motion is sufficient to show that the District's objections were not
                 substantially justified."). Finally, defendant has provided no reason why an award of
                 expenses would be "unjust" here. See Fed. R. Civ. P. 37(a)(5)(A)(iii); Def.'s Opp'n at
                 7−8; see also Diehl v. Diehl, No. 3:14 CV 288, 2015 WL 1565580, at *5 (W.D.N.C.
                 Apr. 8, 2015), aff'd, No. 3:14−CV−00288−MR−DLH, 2015 WL 13842740 (W.D.N.C.
                 Oct. 13, 2015) (finding that awarding attorneys' fees and costs to the moving party
                 would not be unjust because the defendant had "not directed the Court to any
                 circumstance or factor that would make the award of expenses unjust"). The only
                 possible justification for defendant's discovery delays is that "he could no longer
                 afford to pay TrustPoint One to keep the documents online" because the documents
                 were archived and "[i]t would cost him over $320,000," to become "current on his
                 arrearage with [the] TrustPoint" server. Def.'s Opp'n at 5. Yet, as plaintiffs point out,
                 see parties' 42 Joint Status Report at 9; Pls.' Mot. at 24, and not contested by
                 defendant, see generally Def.'s Opp'n, the additional costs incurred from the archiving
                 of the TrustPoint data was defendant's own doing: Had defendant searched and
                 collected responsive records from the TrustPoint server promptly after plaintiffs first
                 propounded their discovery requests on May 20, 2022, see [36−1] Aug. 5, 2022
                 Discovery Deficiency Letter from Plaintiffs at 1, he would not have faced those
                 additional costs. Cf. Peskoff v. Faber, 251 F.R.D. 59, 62−63 (D.D.C. 2008)
                 (explaining that the non−moving party's own failure to conduct "searches that might
                 yield responsive information" and preserve electronically stored data required that
                 party to bear the cost of an "expensive forensic examination" to recover potentially
                 discoverable information). Awarding attorneys' fees and costs to plaintiff would,
                 therefore, not be unjust.

                 Accordingly, plaintiffs' request for attorneys' fees and costs in their 44 Motion is
                 GRANTED. Signed by Judge Beryl A. Howell on June 23, 2023. (lcbah4) (Entered:
                 06/23/2023)
   06/23/2023    MINUTE ORDER (paperless) GRANTING, upon consideration of plaintiffs' request
                 for leave to file a motion for sanctions as to defendant Rudolph W. Giuliani's "failure
                 to sufficiently preserve" discoverable information, see Pls.' 64 Combined Opposition
                 to Def.'s 61 Motion for Reconsideration and Response to Def.'s Declaration at 18,
                 plaintiffs' request for leave to file a motion for sanctions, and ISSUING the following
                 SCHEDULING ORDER:


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                     (1) By July 7, 2023, plaintiffs shall file any motion for sanctions for defendant's
                     alleged failure to preserve electronically stored information, pursuant to Federal Rule
                     of Civil Procedure 37(e);
                     (2)By July 21, 2023, defendant shall file any opposition to plaintiffs' motion; and
                     (3)By July 28, 2023, plaintiffs shall file any reply in support of their motion. Signed
                     by Judge Beryl A. Howell on June 23, 2023. (lcbah4) (Entered: 06/23/2023)
   06/26/2023        Set/Reset Deadlines: Plaintiffs' motion for sanctions, if any, due by 7/7/2023;
                     defendant's opposition, if any, due by 7/21/2023; plaintiffs' reply, if any, due by
                     7/28/2023. (ztg) (Entered: 06/26/2023)
   06/26/2023        MINUTE ORDER (paperless) DIRECTING, upon consideration of plaintiffs' 63
                     Motion to Compel Bernard Kerik to Produce a Document−by−Document Privilege
                     Log and Improperly Withheld Materials and Testimony ("Motion"), which motion was
                     filed on June 9, 2023, and to which any opposition was due on June 23, 2023, see
                     D.D.C. LCvR 7(b) ("Within 14 days of the date of service..., an opposing party shall
                     serve and file a memorandum of points and authorities in opposition to the motion."),
                     that Bernard Kerik SHOW CAUSE, by June 29, 2023 at 2:00 PM, why plaintiffs'
                     Motion should not be granted as conceded; and FURTHER DIRECTING plaintiffs to
                     send a copy of this Order to Timothy C. Parlatore, counsel for Bernard Kerik, by June
                     26, 2023 (today) at 5:00 PM. Signed by Judge Beryl A. Howell on June 26, 2023.
                     (lcbah4) (Entered: 06/26/2023)
   06/26/2023   73   DECLARATION re June 22, 2023 Minute Order by RUDOLPH GIULIANI. (Sibley,
                     Joseph) (Entered: 06/26/2023)
   06/27/2023        Set/Reset Deadlines: Response to Show Cause by Bernard Kerik due by 2:00 PM on
                     6/29/2023. (ztg) (Entered: 06/27/2023)
   06/28/2023   74   RESPONSE TO ORDER OF THE COURT re Order,,, filed by BERNARD KERIK.
                     (Parlatore, Timothy) (Entered: 06/28/2023)
   06/29/2023        MINUTE ORDER (paperless) DIRECTING plaintiffs to file any response to Bernard
                     Kerik's 74 Response to Order of the Court by July 3, 2023 at 5:00 PM. Signed by
                     Judge Beryl A. Howell on June 29, 2023. (lcbah4) (Entered: 06/29/2023)
   06/29/2023        Set/Reset Deadlines: Plaintiff's response to Bernard Kerik's 74 Response to Order of
                     the Court due by 5:00 PM on 7/3/2023. (ztg) (Entered: 06/29/2023)
   06/30/2023   75   TRANSCRIPT OF PROCEEDINGS before Judge Beryl A. Howell, held on
                     5−19−2023; Page Numbers: 1 − 121. Date of Issuance: 6−30−2023. Court Reporter:
                     Elizabeth Saint−Loth, Telephone number: 202−354−3242. Transcripts may be ordered
                     by submitting the Transcript Order Form

                     For the first 90 days after this filing date, the transcript may be viewed at the
                     courthouse at a public terminal or purchased from the court reporter referenced above.
                     After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                     (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                     NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                     days to file with the court and the court reporter any request to redact personal
                     identifiers from this transcript. If no such requests are filed, the transcript will be made
                     available to the public via PACER without redaction after 90 days. The policy, which
                     includes the five personal identifiers specifically covered, is located on our website at

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                     www.dcd.uscourts.gov.

                     Redaction Request due 7/21/2023. Redacted Transcript Deadline set for 7/31/2023.
                     Release of Transcript Restriction set for 9/28/2023.(Saint−Loth, Elizabeth) (Entered:
                     06/30/2023)
   06/30/2023   76   MOTION for Extension of Time to Comply with Minute Orders by RUBY
                     FREEMAN, WANDREA MOSS. (Gottlieb, Michael) (Entered: 06/30/2023)
   06/30/2023   77   Joint STATUS REPORT Regarding the Status of Discovery and Outstanding
                     Compliance Issues by RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1
                     Exhibit 1 (Affidavit of Kari Knudsen), # 2 Exhibit 2 (Defendant's Letter Motion in In
                     re Search Warrant Dated April 21, 2021, 21−MJ−4335 (S.D.N.Y.)))(Langford, John)
                     (Entered: 06/30/2023)
   06/30/2023        MINUTE ORDER (paperless) GRANTING plaintiffs' 76 Unopposed Motion for
                     Extension of Time, and AMENDING the Minute Orders issued on June 23, 2023 and
                     June 29, 2023 as follows: By July 5, 2023, plaintiffs shall (1) file a declaration
                     detailing the costs and fees incurred in preparation for the 44 Motion to Compel
                     Discovery and the May 19, 2023 Hearing; and (2) file any response to Bernard Kerik's
                     74 Response to Order of the Court. Signed by Judge Beryl A. Howell on June 30,
                     2023. (lcbah4) (Entered: 06/30/2023)
   07/03/2023        Set/Reset Deadlines: Plaintiffs' response to Order of the Court due by 7/5/2023. (ztg)
                     (Entered: 07/03/2023)
   07/05/2023   78   RESPONSE TO ORDER OF THE COURT re Order on Motion to
                     Compel,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,, (Plaintiffs' Submission Detailing the Costs and Fees
                     Incurred in Preparing the Motion to Compel Defendant Giuliani and the Related May
                     19 Hearing) filed by RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1
                     Exhibit A, # 2 Declaration, # 3 Text of Proposed Order)(Gottlieb, Michael) (Entered:
                     07/05/2023)
   07/05/2023   79   RESPONSE re 74 Response to Order of the Court (Plaintiffs' Response to Timothy
                     Parlatore's Declaration in Response to the Court's Order to Show Cause by Bernard
                     Kerik) filed by RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1
                     Declaration, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit
                     5)(Gottlieb, Michael) (Entered: 07/05/2023)
   07/07/2023   80   Joint MOTION for an Order Extending to July 11, 2023, Plaintiffs' Deadline for Filing
                     a Motion for Sanctions re Order,,, by RUBY FREEMAN, WANDREA MOSS.
                     (Langford, John) (Entered: 07/07/2023)
   07/08/2023        MINUTE ORDER (paperless) GRANTING the parties' 80 Joint Motion for an Order,
                     and AMENDING the SCHEDULING ORDER issued on June 23, 2023 as follows:

                     (1) By July 11, 2023, plaintiffs shall file any motion for sanctions for defendant's
                     alleged failure to preserve electronically stored information, pursuant to Federal Rule
                     of Civil Procedure 37(e);
                     (2) By July 25, 2023, defendant shall file any opposition to plaintiffs' motion; and
                     (3) By August 1, 2023, plaintiffs shall file any reply in support of their motion. Signed
                     by Judge Beryl A. Howell on July 8, 2023. (lcbah4) (Entered: 07/08/2023)
   07/10/2023        Set/Reset Deadlines: Plaintiffs' motion, if any, for sanctions for defendant's alleged
                     failure to preserve electronically stored information, pursuant to Federal Rule of Civil


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                     Procedure 37(e) due by 7/11/2023; defendant's opposition, if any, due by 7/25/2023;
                     plaintiffs' reply, if any, due by 8/1/2023. (ztg) (Entered: 07/10/2023)
   07/11/2023   81   MOTION for Sanctions for Failure to Preserve Electronic Evidence by RUBY
                     FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration of Michael J.
                     Gottlieb, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7
                     Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit
                     11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Text of Proposed Order)(Gottlieb, Michael)
                     (Entered: 07/11/2023)
   07/13/2023        MINUTE ORDER (paperless) ADDRESSING three discovery−related motions set out
                     below and CAUTIONING DEFENDANT RUDOLPH W. GIULIANI, in light of the
                     fact that the parties failed to reach "an agreement," see Pls.' 81 Mot. for Discovery
                     Sanctions at 14 (explaining that recent settlement negotiations fell apart when
                     defendant Giuliani informed plaintiffs on July 10, 2023, through counsel, that he "did
                     not agree with the key principles" of a potential settlement negotiated by his attorney).

                     First, plaintiffs request that "this Court [] award $89,172.50 in attorneys' fees," Pls.' 78
                     Submission Detailing the Costs and Fees Incurred in Preparing the 44 Motion to
                     Compel Discovery ("Pls.' Fees Motion") at 10−11. Defendant Giuliani was previously
                     directed to "pay for plaintiffs' attorneys' fees and costs for their 44 Motion by July 7,
                     2023," see Minute Order (June 23, 2023), and by that deadline of July 7, 2023,
                     defendant Giuliani had neither objected to nor requested an extension of time to
                     respond or contest the reasonableness of plaintiffs' requested attorneys' fees detailed in
                     Pls.' Fees Motion. Accordingly, defendant Giuliani is DIRECTED, by July 25, 2023,
                     to reimburse plaintiffs $89,172.50 in attorneys' fees incurred for plaintiffs' 44
                     Motion to Compel Discovery.

                     Second, defendant Giuliani has filed no opposition to plaintiffs' 70 Revised Motion to
                     Compel Giuliani Partners and Giuliani Communications to Respond to
                     Properly−Served Rule 45 Subpoenas and Rule 30(b)(6) Deposition Subpoenas ("Pls.'
                     Giuliani Businesses Motion"), which opposition was due on July 7, 2023, see D.D.C.
                     LCvR 7(b) (authorizing, if no timely opposition is filed to a motion, that "the Court
                     may treat the motion as conceded"). Given his clarification in a declaration that he is
                     the sole owner of both Giuliani Partners LLC and Giuliani Communications LLC
                     (collectively, the "Giuliani Businesses"), see 73 June 26, 2023 Declaration of Rudolph
                     Giuliani ("Giuliani Decl.") 2−3 (explaining that Giuliani owns "Giuliani Partners
                     LLC" and the owner of "Giuliani Communications LLC" is "Giuliani Partners LLC"),
                     he has no one to blame but himself for ignoring plaintiffs' pending motion to compel
                     the Giuliani Businesses to comply with discovery obligations. Defendant Giuliani's
                     declaration was filed only in response to the Court's June 22, 2023 Minute Order and
                     not in response to the plaintiffs' Giuliani Businesses Motion. See Minute Order (June
                     22, 2023) (directing defendant Giuliani to file a declaration that answers certain
                     questions about the ownership and employees of the Giuliani Businesses given that
                     "counsel for defendant Rudolph Giuliani confirmed... that defendant has not responded
                     to his own counsel's request for information regarding discovery from his eponymous
                     businesses"). Accordingly, defendant Giuliani is DIRECTED, by July 25, 2023, to
                     SHOW CAUSE why plaintiffs' 70 Giuliani Businesses Motion should not be granted
                     as conceded.

                     Third, plaintiffs indicate in the parties' 77 June 30, 2023, Joint Status Report
                     Regarding the Status of Discovery and Outstanding Compliance Issues ("JSR"), that


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                     defendant still has "taken no steps to collect and search repositories outside of
                     TrustPoint[,]" has produced no materials from the Giuliani Businesses, and only
                     produced documents from TrustPoint that "appear to consist almost exclusively of
                     non−usable, non−readable raw data," 77 JSR at 9, 13. Notably, defendant Giuliani
                     largely does not contest these discovery shortcomings, see JSR at 17 ("Defendant
                     generally agrees with Plaintiffs' recitation of events[.]"), which shows a failure to
                     comply with the Court's May 31, 2023 Minute Order ("May Order") (as amended by
                     the June 16, 2023 Minute Order), directing him to "search and produce all materials
                     responsive to plaintiffs' RFPs... within the date ranges agreed to by the parties, with
                     the assistance of a professional vendor." Yet, plaintiffs' review of defendant's
                     document productions remains underway, see Pls.' 81 Mot. for Discovery Sanctions at
                     17 n.1 ("Plaintiffs note that they are submitting this Motion without having been able
                     to complete a full review of Defendant Giuliani's productions[.]"), and defendant
                     Giuliani may have belatedly produced more documents in compliance with the May
                     Order, so the parties are directed to provide the Court with an updated joint status
                     report regarding his compliance with his discovery obligations and the May Order.
                     Accordingly, the parties are DIRECTED, by August 4, 2023, jointly to submit an
                     updated status report on discovery compliance and any outstanding issues.

                     Defendant Giuliani is CAUTIONED that failure to comply with the May Order,
                     directing him to "search and produce all materials responsive to plaintiffs' RFPs...
                     within the date ranges agreed to by the parties, with the assistance of a professional
                     vendor," including from his two eponymous businesses, for which he declared, subject
                     to penalty of perjury, that he was "collecting, searching, and producing responsive
                     materials... that are in [his] possession, custody, or control," see 73 Giuliani Decl. 12,
                     may result in severe discovery sanctions, see Fed. R. Civ. P. 37(b)(2)(A) (outlining
                     potential sanctions for a party "fail[ing] to obey an order to provide or permit
                     discovery," including "(i) directing that the matters embraced in the order or other
                     designated facts be taken as established for purposes of the action, as the prevailing
                     party claims[;]... (vi) rendering a default judgment against the disobedient party; or
                     (vii) treating as contempt of court the failure to obey"); see also Parsi v. Daioleslam,
                     778 F.3d 116, 130 (D.C. Cir. 2015) (explaining that courts have the "inherent power"
                     to impose sanctions for violating a court order, including "contempt citations, fines,
                     awards of attorneys' fees, and such other orders and sanctions as they find necessary,
                     including even dismissals and default judgments") (citation omitted). Signed by Judge
                     Beryl A. Howell on July 13, 2023. (lcbah4) (Entered: 07/13/2023)
   07/13/2023   82   MEMORANDUM OPINION AND ORDER GRANTING IN PART and
                     RESERVING IN PART plaintiffs' 63 Motion to Compel. See order for further details.
                     Signed by Judge Beryl A. Howell on July 13, 2023. (lcbah4) (Entered: 07/13/2023)
   07/18/2023        Set/Reset Deadlines: Bernard Kerik's production to plaintiffs per Order of the Court
                     due by 7/25/2023; Bernard Kerik's response to Show Cause due by 7/25/2023. (ztg)
                     (Entered: 07/18/2023)
   07/24/2023   83   STIPULATION re 82 Order on Motion to Compel (Joint Stipulation Regarding
                     Plaintiffs' Motion to Compel Third Party Bernard Kerik) by RUBY FREEMAN,
                     WANDREA MOSS. (Gottlieb, Michael) (Entered: 07/24/2023)
   07/24/2023        MINUTE ORDER (paperless) STAYING, upon the joint request of Bernard Kerik and
                     plaintiffs, see 83 Joint Stipulation Regarding Plaintiffs' Motion to Compel third Party
                     Bernard Kerik ("Stip."), Kerik's compliance with the following provision of the
                     Court's July 13, 2023 Memorandum Opinion and Order ("July 13 Mem. Op. & Ord."),


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                     directing Kerik, by July 25, 2023, "to SHOW CAUSE why, in consultation with any
                     putative privilege holder, (1) any of the Withheld Records withheld under
                     attorney−work product privilege grounds should not be produced immediately to
                     plaintiffs; (2) why he should not be made available for a deposition to respond [to]
                     questions, and any follow up questions, that he was instructed not to answer during his
                     March 20, 2023 deposition on attorney−work product protection grounds; and (3) why
                     he and his counsel, Timothy C. Parlatore, should not be required to reimburse
                     plaintiffs for the attorneys' fees and costs associated with the preparation and filing of
                     their motion to compel[,]'" July 13 Mem. Op. & Ord. at 20, in light of the
                     representations by Kerik and plaintiffs that: (1) "at Mr. Kerik's request, the Trump
                     Campaign[,]" the putative privilege holder of records responsive to plaintiffs' Federal
                     Rule of Civil Procedure 45 subpoena to Bernard Kerik dated March 15, 2023 ("Third
                     Kerik Subpoena"), "has withdrawn [its] previous assertions of work product privilege"
                     as to records in Kerik's possession and control responsive to the Third Kerik
                     Subpoena; (2) "the Trump Campaign continues to assert attorney−client
                     communications privilege over a certain subset of the email communications" in
                     Kerik's possession and control responsive to the Third Kerik Subpoena; (3) plaintiffs
                     "are in the process of reviewing Mr. Kerik's additional production and the revised
                     privilege log" and need until August 4, 2023, to determine whether they "continue to
                     challenge any of the documents being withheld on the basis of attorney−client
                     privilege;" (4) Kerik agreed "to sit for an additional deposition covering all topics
                     which were objected to during the first deposition, as well as to all of the additional
                     documents he produced to Plaintiffs" on July 23, 2023; and (5) Kerik and plaintiffs
                     "agree[d] to defer Mr. Kerik's obligation to show cause in compliance with the Courts
                     July 1 3 order, if any is still necessary, until seven (7) days after Plaintiffs' August 4,
                     filing," Stip. at 2−3; and DIRECTING that, by August 4, 2023, plaintiffs file a status
                     report indicating whether they (1) challenge the sufficiency of Kerik's privilege log
                     produced on July 23, 2023, and/or any of the documents withheld by Kerik on the
                     basis of attorney−client privilege; and (2) continue to seek attorneys' fees and costs
                     associated with their 63 Motion to Compel Bernard Kerik to Produce A
                     Document−by−Document Privilege Log and Improperly Withheld Materials and
                     Testimony. Signed by Judge Beryl A. Howell on July 24, 2023. (lcbah4) Modified to
                     correct typo on 7/25/2023 (ztg). (Entered: 07/24/2023)
   07/25/2023   84   RESPONSE re 81 MOTION for Sanctions for Failure to Preserve Electronic
                     Evidence filed by RUDOLPH GIULIANI. (Attachments: # 1 Declaration Costello
                     Decl, # 2 Exhibit Giuliani Stipulation)(Sibley, Joseph) (Entered: 07/25/2023)
   07/25/2023   85   RESPONSE TO ORDER TO SHOW CAUSE re Order,,,,,,,,,,,,,,,,,,,,,,,,,, filed by
                     RUDOLPH GIULIANI. (Sibley, Joseph) (Entered: 07/25/2023)
   07/26/2023        MINUTE ORDER (paperless) GRANTING, as conceded, plaintiffs' 70 Revised
                     Motion to Compel Giuliani Partners and Giuliani Communications to Respond to
                     Properly−Served Rule 45 Subpoenas and Rule 30(b)(6) Deposition Subpoenas ("Pls.'
                     Giuliani Businesses Motion"), in light of defendant Giuliani's 85 Response to the
                     Court's July 13, 2023 Minute Order ("Giuliani Response"), directing defendant
                     Giuliani to show cause why plaintiffs' 70 Giuliani Businesses Motion should not be
                     granted as conceded, in which Response defendant Giuliani states that he "does not
                     oppose the Court's show cause order[,]" Giuliani Resp. at 1; DIRECTING plaintiffs,
                     by August 4, 2023, to submit their costs and attorneys' fees incurred in preparing and
                     filing the Giuliani Businesses Motion; and FURTHER DIRECTING defendant
                     Giuliani, by August 11, 2023, for the reasons outlined below, either to file any
                     objection to plaintiffs' requested attorneys' fees and costs, or to reimburse plaintiffs for

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                     their requested fees and costs in connection with their 70 Giuliani Businesses Motion.

                     Federal procedural rules provide, upon the granting of a motion to compel, that "the
                     court must... require the party or deponent whose conduct necessitated the motion, the
                     party or attorney advising that conduct, or both to pay the movant's reasonable
                     expenses incurred in making the motion, including attorney's fees." Fed. R. Civ. P.
                     37(a)(5)(A); accord Parsi v. Daioleslam, 778 F.3d 116, 126 (D.C. Cir. 2015); Minute
                     Order (June 23, 2023); see also DL v. District of Columbia, 251 F.R.D. 38, 49 (D.D.C.
                     2008) (observing that the language of Rule 37(a)(5)(A) "itself is mandatory, dictating
                     that the Court must award expenses upon granting a motion to compel disclosure
                     unless one of the specified bases for refusing to make such an award is found to
                     exist"). Given that defendant Giuliani has conceded in full plaintiffs' Giuliani
                     Businesses Motion, which includes a request for reimbursement for the costs
                     associated with filing the motion, see Giuliani Businesses Motion at 11, without
                     offering any reason why he should not reimburse plaintiffs for their reasonable
                     expenses incurred in filing their Motion, plaintiffs' request for attorneys' fees and costs
                     must be granted under Rule 37(a)(5)(A).

                     Accordingly, defendant Giuliani is DIRECTED to pay plaintiffs the reasonable
                     expenses they incurred in filing their Motion, after opportunity to contest the
                     reasonableness of the fees and costs that plaintiffs request. The remainder of plaintiffs'
                     requested relief in their Motion will be RESERVED, pending completion of briefing
                     on plaintiffs' 81 Motion for Sanctions for Failure to Preserve Electronic Evidence and
                     the parties forthcoming August 4, 2023, Joint Status Report, see Minute Order (July
                     13, 2023) (directing the parties to file by August 4, 2023, "an updated status report on
                     discovery compliance and any outstanding issues"). Signed by Judge Beryl A. Howell
                     on July 26, 2023. (lcbah4) (Entered: 07/26/2023)
   07/27/2023        Set/Reset Deadlines: Plaintiffs' submission of costs and attorneys' fees incurred in
                     preparing and filing the Giuliani Businesses Motion due by 8/4/2023; defendant
                     Giuliani's objection or reimbursement of plaintiffs' requested fees and costs in
                     connection with their 70 Giuliani Businesses Motion due by 8/11/2023. (ztg) (Entered:
                     07/27/2023)
   08/01/2023   86   REPLY to opposition to motion re 81 MOTION for Sanctions for Failure to Preserve
                     Electronic Evidence filed by RUBY FREEMAN, WANDREA MOSS. (Attachments:
                     # 1 Declaration, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit
                     5, # 7 Exhibit 6)(Gottlieb, Michael) (Entered: 08/01/2023)
   08/04/2023   87   STATUS REPORT Regarding Bernard Kerik Discovery by RUBY FREEMAN,
                     WANDREA MOSS. (Attachments: # 1 Declaration, # 2 Exhibit 1, # 3 Exhibit
                     2)(Gottlieb, Michael) (Entered: 08/04/2023)
   08/04/2023        MINUTE ORDER (paperless) DIRECTING defendant Giuliani to CLARIFY his
                     [84−2] "Nolo Contendre [sic] Stipulation" ("Giuliani Stipulation"), submitted in
                     response to plaintiffs' 81 Motion for Discovery Sanctions Against Defendant Rudolph
                     Giuliani For Failure to Preserve Electronic Evidence ("Pls.' Motion"), which unsworn
                     stipulation signed by defendant Giuliani contests no part of plaintiffs' motion but
                     rather purports to set out concessions sufficient to avoid further discovery demands
                     and the risk of concomitant sanctions for failure to comply with discovery obligations,
                     under Federal Rules of Civil Procedure 26 through 37, but simultaneously contains
                     multiple caveats and limitations undercutting that purpose. For example, the Giuliani
                     Stipulation concedes:


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                 1. that defendant Giuliani "made the statements of and concerning Plaintiffs, which
                 include all of the statements detailed in Plaintiffs['] [sic] Amended Complaint, ECF
                 No. 22 at 57−101,"

                 2. "that the statements carry meaning that is defamatory per se,"

                 3. that defendant Giuliani "published those statements to third parties,"

                 4. "that, to the extent the statements were statement of fact and otherwise actionable,
                 such actionable factual statements were false[,]" and

                 5. that defendant Giuliani "does not contest... the factual elements of liability (subject
                 to any retained affirmative defenses not expressly waived herein) regarding Plaintiffs'
                 claim for intentional infliction of emotional distress and other related tort claims."

                 Giuliani Stip. 1−4. Yet, these concessions appear to be significantly limited with
                 caveats that the Giuliani Stipulation:

                 1. is made only "for the purposes of this litigation before this Court and on Appeal,"
                 id. 1; see also id. 2−4;

                 2. "does not affect... his argument that his statements are constitutionally protected
                 statements or opinions or [that plaintiffs' claims are barred by] any applicable statute
                 of limitations," id. 3, 4, despite denial of defendant Giuliani's 26 Motion to Dismiss
                 plaintiffs' complaint on these same grounds, in which motion plaintiffs' allegations
                 were legally required to be assumed as true, see generally Freeman v. Giuliani, Civ.
                 No. 21−3354 (BAH), 2022 U.S. Dist. LEXIS 197768 (D.D.C. Oct. 31, 2022), leaving
                 no room for continued viability of such defenses, let alone reservation of such
                 defenses, if plaintiffs' allegations are conceded as true, as the Giuliani Stipulation
                 purports to do;

                 3. is "subject to any retained affirmative defenses not expressly waived herein,"
                 Giuliani Stip. 4, which affirmative defenses may include any one of the six such
                 defenses asserted in Def.'s 33 Answer 193−198, that may provide a complete defense
                 to liability and were not "expressly waived" in the Giuliani Stipulation;

                 4. "does not affect Giuliani's ability to seek setoff, offset or settlement credit, or that
                 Giuliani's conduct, in fact, caused Plaintiffs any damages, and the amount of any
                 alleged damages Giuliani's conduct may have caused," Giuliani Stip. 4; and

                 5. "does not affect Giuliani's argument [as to] any other legal defense not expressly
                 waived by this Stipulation," id., which may allude to the six affirmative defenses
                 asserted in Def.'s 33 Answer 193−198, or other unspecified defenses.

                 Given the seemingly incongruous and certainly puzzling caveats contained in the
                 Giuliani Stipulation, plaintiffs' counsel recounts efforts to obtain clarification from
                 defendant Giuliani's counsel, see Pls.' 86 Reply Supp. Mot. For Discovery Sanctions
                 Ag. Def. Giuliani For Failure to Preserve Electronic Evid., at 3−5 (recounting defense
                 counsel's confirmation to plaintiffs' counsel that defendant Giuliani (1) stipulates to all
                 elements of plaintiffs' claims for defamation, intentional infliction of emotional
                 distress, and civil conspiracy; and (2) "would 'not contest willfulness for purposes of

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                     punitive damages'"), but no such clarification has been submitted directly to the Court
                     by defendant Giuliani or otherwise acknowledged by defendant Giuliani.

                     Accordingly, for the above reasons, defendant Giuliani is DIRECTED, by August 8,
                     2023 at 4:00 PM, to submit to the Court either:

                     (a) a superseding stipulation in which he

                     (i) concedes, for purposes of this litigation, all factual allegations in plaintiffs' 22
                     Amended Complaint as to his liability for plaintiffs' defamation, intentional infliction
                     of emotional distress, and civil conspiracy claims, and his liability as to plaintiffs'
                     claim for punitive damages, see U.S. Sec. & Exch. Comm'n v. China Infrastructure
                     Inv. Corp., 189 F. Supp. 3d 118, 128 (D.D.C. 2016) (Howell, C.J.) (noting that "[a]
                     defaulting defendant concedes all well−pleaded factual allegations as to liability,
                     though the court may require additional evidence concerning damages") (quoting
                     Al−Quraan v. 4115 8th St. NW, LLC1, 123 F. Supp. 3d 1, 1 (D.D.C. 2015)); and

                     (ii) concedes that entry of default judgment on liability is appropriate in this case, see
                     Adkins v. Teseo, 180 F. Supp. 2d 15, 1718 (D.D.C. 2001) (entering default judgment
                     after finding that plaintiffs "satisfied each element" of the pleaded cause of action); or

                     (b) an explanation for declining to submit the superseding stipulation described in
                     paragraph (a), above, that also provides clarification as to what precisely his original
                     stipulation conceded regarding the plaintiffs' factual allegations and legal claims.

                     Should defendant Giuliani not file the superseding stipulation described in paragraph
                     (a), above, the parties are DIRECTED to appear in Courtroom 26A on August 15,
                     2023 at 11:00 AM for a hearing on both plaintiffs' 81 Motion, and the status of
                     defendant Giuliani's compliance with the Court's May 31, 2023 Minute Order ("May
                     Order") (as amended by the June 16, 2023 Minute Order), directing him to "search and
                     produce all materials responsive to plaintiffs' RFPs... within the date ranges agreed to
                     by the parties, with the assistance of a professional vendor." Signed by Judge Beryl A.
                     Howell on August 4, 2023. (lcbah4) Modified on 8/7/2023 (zmac). (Entered:
                     08/04/2023)
   08/04/2023        Set/Reset Deadlines/Hearings: Superseding Stipulation due by 8/8/2023. Motion
                     Hearing set for 8/15/2023 at 11:00 AM in Courtroom 26A− In Person before Judge
                     Beryl A. Howell. (mac) (Entered: 08/04/2023)
   08/04/2023   88   RESPONSE TO ORDER OF THE COURT re Order,,, (Plaintiffs' Submission
                     Detailing the Costs and Fees Incurred in Preparing and Filing the Giuliani Businesses
                     Motion) filed by RUBY FREEMAN, WANDREA MOSS. (Attachments: # 1
                     Declaration, # 2 Exhibit A, # 3 Text of Proposed Order)(Gottlieb, Michael) (Entered:
                     08/04/2023)
   08/04/2023   89   Joint STATUS REPORT Regarding Discovery Compliance and Outstanding Issues by
                     RUBY FREEMAN, WANDREA MOSS. (Langford, John) (Entered: 08/04/2023)
   08/08/2023   90   STIPULATION re Order,,,,,,,,,,,,,,,,,,,,,,,,,, Supersediing Stipulation by RUDOLPH
                     GIULIANI. (Sibley, Joseph) (Entered: 08/08/2023)
   08/09/2023        NOTICE of Hearing: Motion Hearing set for 8/15/2023 at 10:00 AM in Courtroom
                     26A− In Person before Judge Beryl A. Howell. (mac) (Entered: 08/09/2023)


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   08/10/2023        MINUTE ORDER (paperless) VACATING the hearing set for August 15, 2023 as to
                     plaintiffs' 81 Motion for Sanctions for Failure to Preserve Electronic Evidence
                     ("Motion"), given the parties' respective counsels' unavailability this week and on
                     August 15, 2023, despite notice of the hearing being set since August 4, 2023.
                     Plaintiffs' Motion will be resolved on the papers. Signed by Judge Beryl A. Howell on
                     August 10, 2023. (lcbah4) (Entered: 08/10/2023)
   08/11/2023   91   RESPONSE TO ORDER OF THE COURT re Order on Motion to Compel,,,,,,,,,,,, and
                     Plaintiffs' Submission re same filed by RUDOLPH GIULIANI. (Sibley, Joseph)
                     (Entered: 08/11/2023)
   08/14/2023        MINUTE ORDER (paperless) DIRECTING that, by August 25, 2023, plaintiffs file
                     any response to defendant Giuliani's 91 Objection and Response to Minute Order Re
                     Attorneys' Fees, which was filed in response to the Minute Order (July 26, 2023)
                     granting plaintiffs' 70 Revised Motion to Compel Giuliani Partners and Giuliani
                     Communications to Respond to Properly−Served Rule 45 Subpoenas and Rule
                     30(b)(6) Deposition Subpoenas ("Pls.' Motion"), as conceded and awarding plaintiffs
                     attorneys' fees and costs in connection with their Motion, and to address defendant
                     Giuliani's contention that he may not be held personally liable for plaintiffs' attorneys'
                     fees and costs incurred in connection with their Motion. Signed by Judge Beryl A.
                     Howell on August 14, 2023. (lcbah4) (Entered: 08/14/2023)
   08/15/2023        Set/Reset Deadlines: Plaintiff Response To Defendant Giuliani's 91 Objection And
                     Response To Minute Order Re Attorneys' Fees due by 8/25/2023 (mac) (Entered:
                     08/15/2023)
   08/25/2023   92   RESPONSE re 91 Response to Order of the Court filed by RUBY FREEMAN,
                     WANDREA MOSS. (Gottlieb, Michael) (Entered: 08/25/2023)
   08/30/2023   93   ORDER GRANTING plaintiffs' 81 Motion for Sanctions. See order for further details.
                     Signed by Judge Beryl A. Howell on August 30, 2023. (lcbah4) (Entered: 08/30/2023)
   08/30/2023   94   MEMORANDUM OPINION regarding plaintiffs' 81 Motion for Sanctions. Signed by
                     Judge Beryl A. Howell on August 30, 2023. (lcbah4) (Entered: 08/30/2023)
   08/31/2023   95   DEFAULT JUDGMENT in favor of Plaintiffs against RUDOLPH GIULIANI on
                     08/31/23. (mac) (Entered: 08/31/2023)
   09/01/2023   96   Joint STATUS REPORT by RUBY FREEMAN, WANDREA MOSS. (Langford,
                     John) (Entered: 09/01/2023)
   09/08/2023   97   RESPONSE TO ORDER OF THE COURT re 93 Order on Motion for Sanctions
                     Plaintiffs' Submission Detailing the Costs and Fees Incurred in Preparing and Filing
                     Plaintiffs' Motion for Discovery Sanctions filed by RUBY FREEMAN, WANDREA
                     MOSS. (Attachments: # 1 Declaration, # 2 Exhibit A, # 3 Text of Proposed
                     Order)(Gottlieb, Michael) (Entered: 09/08/2023)
   09/14/2023   98   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Brittany Williams,
                     Filing fee $ 100, receipt number ADCDC−10352330. Fee Status: Fee Paid. by RUBY
                     FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration, # 2 Certificate of
                     Good Standing, # 3 Text of Proposed Order)(Governski, Meryl) (Entered: 09/14/2023)
   09/15/2023        MINUTE ORDER (paperless) GRANTING plaintiffs' 98 Motion for Leave to Appear
                     Pro Hac Vice. Brittany Williams may enter an appearance pro hac vice for the purpose
                     of representing plaintiffs in this action. Counsel should register for e−filing via
                     PACER and file a notice of appearance pursuant to LCvR 83.6(a). Counsel should

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                      register for e−filing via PACER and file a notice of appearance pursuant to
                      LCvR 83.6(a) Click for instructions. Signed by Judge Beryl A. Howell on September
                      15, 2023. (lcbah4) (Entered: 09/15/2023)
   09/20/2023    99   RESPONSE TO ORDER OF THE COURT re 93 Order on Motion for Sanctions
                      (Joint Proposed Pretrial and Trial Schedule) filed by RUBY FREEMAN,
                      WANDREA MOSS. (Gottlieb, Michael) (Entered: 09/20/2023)
   09/20/2023         MINUTE ORDER (paperless) ISSUING, upon consideration of the parties' 99
                      Proposed Pretrial and Trial Schedule, the following SCHEDULING ORDER:

                      (1) by October 16, 2023, the parties shall file any pretrial motions, including any
                      motions in limine, with any opposition due by October 23, 2023, and any replies due
                      by October 30, 2023;
                      (2) by November 14, 2023, the parties shall file their joint pretrial statement (JPTS),
                      see 4 Standing Order &para 10 (setting out required contents of JPTS);
                      (3) by November 20, 2023, the parties shall file any trial briefs;
                      (4) on December 5, 2023, at 10:00 AM, the parties are directed to appear in Courtroom
                      26A for a pretrial conference in this matter; and
                      (5) on December 11, 2023, at 9:00 AM, the parties are directed to appear in Courtroom
                      26A for jury selection for a trial in this matter, with plaintiffs and defendant present in
                      person for the duration of trial. Signed by Judge Beryl A. Howell on September 20,
                      2023. (lcbah4) (Entered: 09/20/2023)
   09/21/2023         Set/Reset Deadlines/Hearings: Pretrial Motions, Including Motion in Limine due by
                      10/16/2023. Oppositions due by 10/23/2023 Replies due by 10/30/2023. Joint Pretrial
                      Statement due by 11/14/2023. Trial Briefs due by 11/20/2023. Pretrial Conference set
                      for 12/5/2023 at 10:00 AM in Courtroom 26A− In Person before Judge Beryl A.
                      Howell. Jury Selection set for 12/11/2023 at 09:00 AM in Courtroom 26A− In Person
                      before Judge Beryl A. Howell. (mac) (Entered: 09/21/2023)
   09/21/2023   100   NOTICE (Plaintiffs' Notice of Defendant Giuliani's Failure to Comply) by RUBY
                      FREEMAN, WANDREA MOSS re 93 Order on Motion for Sanctions (Gottlieb,
                      Michael) (Entered: 09/21/2023)
   09/22/2023         MINUTE ORDER (paperless) DIRECTING, upon consideration of plaintiffs' 100
                      Notice of Defendant Giuliani's Failure to Comply with the 93 August 30, 2023 Order
                      ("Pls.' Notice"), which Notice indicates that defendant Rudolph W. Giuliani failed to
                      comply with any part of the August 30, 2023 Order ("August 30 Order"), including
                      failing (1) to "produce complete responses to plaintiffs' Requests for Production
                      ('RFP') Numbers 40 and 41;" (2) to "ensure that Giuliani Communications LLC and
                      Giuliani Partners LLC (collectively, the 'Giuliani Businesses') produce complete
                      responses to plaintiffs' requests for financial documents and viewership metrics,
                      including RFP Numbers 19 and 35 and designate one or more corporate
                      representatives to sit for depositions on behalf of the Giuliani Businesses;" (3) to
                      "reimburse plaintiffs' attorneys' fees and costs associated with their successful first
                      motion to compel discovery in the amount totaling $89,172.50, with interest on that
                      amount to accrue from July 25, 2023;" and (4) to "ensure that the Giuliani Businesses
                      reimburse plaintiffs' attorneys fees associated with their successful motion to compel
                      discovery from those Businesses in the amount totaling $43,684," Pls.' Notice at 1−2;
                      see also August 30 Order at 2−3, that:

                      (1) By September 29, 2023, plaintiffs shall submit any request for additional sanctions


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                      against defendant Giuliani, under Federal Rule of Civil Procedure 37(b)(2)(A) and this
                      Court's inherent power, see Parsi v. Daioleslam, 778 F.3d 116, 130 (D.C. Cir. 2015),
                      for his failure to comply with the August 30 Order;
                      (2) By October 6, 2023, defendant Giuliani shall file any response to plaintiffs' request
                      for additional sanctions against him; and
                      (3) By October 10, 2023, plaintiffs shall file any reply in support of their request for
                      additional sanctions against defendant Giuliani; and

                      FURTHER DIRECTING defendant Giuliani, in light of his failure timely to file, or
                      seek an extension of time to file, any objection to plaintiffs' 97 Submission Detailing
                      the Costs and Fees Incurred in Preparing and Filing Plaintiffs' Motion for Discovery
                      Sanctions, by the deadline of September 15, 2023, as provided by the August 30
                      Order, to reimburse plaintiffs $104,256.50 in attorneys' fees incurred in the filing of
                      plaintiffs' 81 Motion for Sanctions, by October 6, 2023, with interest to accrue on any
                      unpaid amount thereafter; and

                      REMINDING the parties that "all parties or party representatives must be present at
                      the Pretrial Conference," see Standing Order &para 11(a). Signed by Judge Beryl A.
                      Howell on September 22, 2023. (lcbah4) (Entered: 09/22/2023)
   09/22/2023         Set/Reset Deadlines: Plaintiffs Request For Additional Sanctions Against Defendant
                      Giuliani due by 9/29/2023. Defendant Giuliani Response To Plaintiffs' Request For
                      Additional Sanctions Against Him due by 10/6/2023. Plaintiffs Reply In Support Of
                      Their Request For Additional Sanctions Against Defendant Giuliani due by
                      10/10/2023. (mac) (Entered: 09/22/2023)
   09/29/2023   101   RESPONSE TO ORDER OF THE COURT re Order,,,,,,,,,,, (Plaintiffs' Submission
                      Regarding Additional Sanctions for Defendant Giuliani's Failure to Comply with the
                      Court's August 30, 2023) filed by RUBY FREEMAN, WANDREA MOSS.
                      (Attachments: # 1 Declaration, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit
                      4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Text of Proposed Order)(Gottlieb, Michael)
                      (Entered: 09/29/2023)
   10/13/2023   102   ORDER regarding plaintiffs' 101 Submission Regarding Additional Sanctions for
                      Defendant Giuliani's Failure to Comply with the Court's August 30, 2023. See order
                      for further details. Signed by Judge Beryl A. Howell on October 13, 2023. (lcbah4)
                      (Entered: 10/13/2023)
   10/16/2023   103   Consent MOTION in Limine by RUBY FREEMAN, WANDREA MOSS.
                      (Attachments: # 1 Declaration of Christine Kwon, # 2 Appendix A to Kwon
                      Declaration, # 3 Text of Proposed Order)(Kwon, Christine) (Entered: 10/16/2023)
   10/27/2023   104   NOTICE of Appearance by Brittany Marie Williams on behalf of RUBY FREEMAN,
                      WANDREA MOSS (Williams, Brittany) (Entered: 10/27/2023)
   11/14/2023   105   PRETRIAL STATEMENT by RUBY FREEMAN, WANDREA MOSS.
                      (Attachments: # 1 Appendix A: Plaintiffs' Exhibit List, # 2 Appendix B: Defendant's
                      Exhibit List − Intentionally Left Blank, # 3 Appendix C: Joint Proposed Voir Dire, # 4
                      Appendix D: Plaintiffs' Proposed Jury Instructions, # 5 Appendix E: Defendant's
                      Redline and Objection to Plaintiffs' Proposed Jury Instructions, # 6 Appendix F: Joint
                      Proposed Verdict Form)(Gottlieb, Michael) (Entered: 11/14/2023)
   11/20/2023   106   NOTICE of Appearance by Aaron E. Nathan on behalf of RUBY FREEMAN,
                      WANDREA MOSS (Nathan, Aaron) (Entered: 11/20/2023)


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   11/20/2023   107   TRIAL BRIEF re Propriety of Jury Trial and Objection to Jury Trial by RUDOLPH
                      GIULIANI. (Sibley, Joseph) (Entered: 11/20/2023)
   11/21/2023         MINUTE ORDER (paperless) DIRECTING, upon consideration of the parties' 105
                      Joint Pretrial Submission ("JPS"), in which the parties specify the "Process To Which
                      The PARTIES Agree," id. at 25 (§ X.F), that the parties adhere to the following
                      processes:

                      (1)The parties shall disclose the identities of witnesses they intend to call for the
                      following day by noon of the preceding day;
                      (2)The parties shall exchange the demonstratives that they intend to use, including for
                      opening and closing presentations, by 6 p.m. of the day prior to such intended use,
                      with any objections to such demonstratives submitted in writing to the Court by 7 AM
                      on the day of the intended use; and
                      (3)The parties shall provide opposing counsel a list of the intended exhibits to be
                      introduced on direct examination, by 8 p.m. of the day preceding the expected
                      testimony of that witness.

                      Signed by Judge Beryl A. Howell on November 21, 2023. (lcbah4) (Entered:
                      11/21/2023)
   11/21/2023         MINUTE ORDER (paperless) DENYING, upon consideration of the parties' 105 Joint
                      Pretrial Submission ("JPS"), the parties' request that they be provided, by Friday,
                      December 8, 2023, at 12 p.m., the list of prospective jurors for trial scheduled for
                      Monday, December 11, 2023, see id. at 31. This Court has adopted, consistent with 28
                      U.S.C. § 1878, a one−step summoning and juror qualification procedure, with the
                      result that the list of prospective jurors randomly selected to comprise the venire list
                      for trial in the instant case will not be determined prior to the morning of jury selection
                      on December 11, 2023. See 28 U.S.C. § 1878(a) ("At the option of each district court,
                      jurors may be summoned and qualified in a single procedure, if the court's jury
                      selection plan so authorizes, in lieu of the two separate procedures otherwise provided
                      for by this chapter."); Jury Selection Plan for the U.S. District Court for the District of
                      Columbia § 7 (as amended May 17, 2022),
                      https://www.dcd.uscourts.gov/sites/dcd/files/D.D.C.JurySelectionPlan−20220517.pdf.
                      Signed by Judge Beryl A. Howell on November 21, 2023. (lcbah4) (Entered:
                      11/21/2023)
   11/21/2023         MINUTE ORDER (paperless) DIRECTING, upon consideration of the parties' 105
                      Joint Pretrial Submission ("JPS"), which notes various disputes for resolution, that the
                      parties adhere to the following SCHEDULING ORDER for briefing in advance of the
                      Pretrial Conference scheduled for December 5, 2023:

                      (1)&nbspBy November 27, 2023:

                      &nbsp&nbsp a.&nbspPlaintiff shall file any opposition to defendant's 107 Trial Brief
                      on Propriety of Jury Trial and Objection to Jury Trial;

                      &nbsp&nbspb.Defendant shall submit briefing fully explaining, with citations to
                      applicable law:

                      &nbsp&nbsp &nbsp&nbsp &nbsp&nbsp i.&nbspwhy the 93 August 30, 2023, Order
                      directing the entry of default judgment against defendant ("Default Judgment Order")
                      does not resolve "all elements of [defendant's] liability, including the fact of harm and

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                 causation, JPS at 27 (§ XII);

                 &nbsp&nbsp &nbsp&nbsp &nbsp&nbsp ii.&nbspwhy "all of the elements of civil
                 conspiracy" have not been satisfied in light of the Default Judgment Order, id. at 28 (§
                 XII);

                 &nbsp&nbsp &nbsp&nbsp &nbsp&nbsp iii.&nbspwhy the members of the conspiracy
                 include not only persons specifically listed in the 22 Amended Complaint and those
                 individuals the parties agree to stipulate were members, see JPS at 29−30 ("[T]he
                 parties are in agreement that the following individuals or entities were members of the
                 conspiracy: Donald J. Trump, Christina Bobb, and Herring Networks, Inc.... ("OAN");
                 Robert Herring; Charles Herring; and Chanel Rion."), but defendant contests that the
                 following individuals are members of the conspiracy: "the Trump Campaign,
                 including anyone who caused [] statements to [be] publish[ed] [] about Plaintiffs or
                 participated in such publications; members of President Trump's legal team, including
                 Ray S. Smith III, Jenna Lynn Ellis, Jackie Pick, Bernard Kerik, and any other lawyers
                 or individuals who the evidence shows worked alongside Defendant Giuliani in
                 support of the Trump Campaign and/or Trump Legal Team," id. at 30;

                 &nbsp&nbsp &nbsp&nbsp &nbsp&nbsp iv.&nbspdefendant's objection to plaintiffs'
                 proposed jury instruction on civil conspiracy, id. at 28;

                 &nbsp&nbsp &nbsp&nbsp &nbsp&nbsp v.&nbspwhy plaintiffs should be limited to
                 prove damages regarding plaintiffs' Defamation/Defamation Per Se claim (Claim 1)
                 and Civil Conspiracy claim (Claim 3) based only on "those statements and/or
                 co−conspirators specifically alleged in the Amended Complaint," id. at 14 n.8, rather
                 than "all of the statements to which the [Amended Complaint] refers or incorporates
                 by reference," id., when "Dr. Ashlee Humphreys disclosed her opinions relating to
                 those statements before the default judgment order" in reports served on defendant on
                 July 28 and October 6, 2023, thereby putting defendant on notice of "Plaintiffs' intent
                 to prove damages relating to those statements at the time that [defendant] attempted to
                 stipulate to liability," id.;

                 &nbsp&nbsp c.&nbspDefendant shall submit any briefing on his objections to the
                 parties' proposed jury instructions, as contemplated in the parties' JPS, see id. at 31, or
                 consider such objections waived.

                 &nbsp&nbsp d.Defendant shall submit citation(s) to the record in this case where he
                 challenged the sufficiency of the pleading of the Third Claim for Civil Conspiracy in
                 the 22 Amended Complaint, based on defendant's current contention that "the Court
                 erred in holding that Plaintiffs[] properly pleaded their conspiracy claim" and plaintiffs
                 contest that defendant "appropriately preserved any [such] argument," id. at 4 n.1.

                 (2)&nbspBy November 30, 2023 at 2 p.m.:

                 &nbsp&nbsp a.&nbspDefendant shall file any reply in support of defendant's 107
                 Trial Brief on Propriety of Jury Trial and Objection to Jury Trial;

                 &nbsp&nbsp b.&nbspPlaintiffs shall file any opposition to defendant's briefing
                 submitted under 1(b)−(d), above;




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                      (3)&nbspBy December 1, 2023 at 4 p.m., defendant shall file any reply in support of
                      defendant's briefing submitted under 1(b)−(d), above.

                      Signed by Judge Beryl A. Howell on November 21, 2023. (lcbah4) (Entered:
                      11/21/2023)
   11/22/2023         Set/Reset Deadlines: due by 12/1/2023. Plaintiff Opposition To Defendant's 107 Trial
                      Brief on Propriety of Jury Trial And Objection To Jury Trial And Defendant Briefing
                      due by 11/27/2023. Defendant Reply In Support Of Defendant's 107 Trial Brief On
                      Propriety Of Jury Trial And Objection to Jury Trial And Plaintiffs Opposition To
                      Defendant's Briefing due by 11/30/2023. Defendant Reply In Support Of Defendant's
                      Briefing Submitted Under 1(b)−(d) due by 12/1/2023. (zmac) (Entered: 11/22/2023)
   11/22/2023   108   ORDER GRANTING plaintiffs' 103 Consent Motion in Limine to Exclude Certain
                      Evidence and Argument at Trial. See order for further details. Signed by Judge Beryl
                      A. Howell on November 22, 2023. (lcbah4) (Entered: 11/22/2023)
   11/27/2023   109   RESPONSE re 107 Trial Brief Plaintiffs' Opposition to Defendant's Objection to Jury
                      Trial filed by RUBY FREEMAN, WANDREA MOSS. (Gottlieb, Michael) (Entered:
                      11/27/2023)
   11/27/2023   110   MEMORANDUM re Order,,,,,,,,,,,,,,,,, by RUDOLPH GIULIANI. (Sibley, Joseph)
                      (Entered: 11/27/2023)
   11/30/2023   111   REPLY re 107 TRIAL BRIEF Reply in Support of Objection to Jury Trial by
                      RUDOLPH GIULIANI. (Attachments: # 1 Exhibit Exhibit A)(Sibley, Joseph)
                      Modified event title and link on 12/6/2023 (znmw). (Entered: 11/30/2023)
   11/30/2023   112   RESPONSE re 110 Memorandum filed by RUBY FREEMAN, WANDREA MOSS.
                      (Attachments: # 1 Declaration, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit
                      4, # 6 Exhibit 5, # 7 Exhibit 6)(Gottlieb, Michael) (Entered: 11/30/2023)
   12/03/2023   113   MEMORANDUM OPINION AND ORDER DENYING defendant's 107 Trial Brief
                      on Propriety of Jury Trial and Objection to Jury Trial. See order for further details.
                      Signed by Judge Beryl A. Howell on December 3, 2023. (lcbah4) (Entered:
                      12/03/2023)
   12/04/2023   114   REPLY re 110 in Support of Memo re MINUTE ORDER DATED NOVEMBER 21,
                      2023 by RUDOLPH GIULIANI. (Sibley, Joseph) Modified event on 12/6/2023 (mg).
                      Modified on 12/6/2023 (mg). (Entered: 12/04/2023)
   12/04/2023   115   PRETRIAL STATEMENT (First Amended Pretrial Submission and First Amended
                      Exhibit List) by RUBY FREEMAN, WANDREA MOSS re 105 Pretrial Statement,
                      (Attachments: # 1 Appendix A − Plaintiffs First Amended Exhibit List, # 2 Appendix
                      A−1 − Plaintiffs First Amended Exhibit List with Stipulations, # 3 Redline to the
                      Previously Filed Pretrial Statement)(Gottlieb, Michael) Modified event on 12/6/2023
                      (mg). (Entered: 12/04/2023)
   12/05/2023         Minute Entry for proceedings held before Judge Beryl A. Howell: Pretrial Conference
                      held on 12/5/2023. (Court Reporter ELIZABETH SAINT−LOTH.) (mac) (Entered:
                      12/05/2023)
   12/05/2023         MINUTE ORDER (paperless) DIRECTING, upon consideration of the parties'
                      responses to the Court's November 21, 2023 Minute Order, see 110 Def.'s Resp.
                      Mem.; 112 Pls.' Opp'n Def.'s Resp.; 114 Def.'s Reply Mem., in which defendant
                      explained objections raised in the parties' 105 Joint Pretrial Submission ("JPTS"), to

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                      two jury instructions regarding "Certain Matters Already Decided" and "Defamation,"
                      see Def.'s Resp. Mem. at 10; JPTS, App. E, Def.'s Obj. Pls.' Jury Instr. at 3−4, ECF
                      No. 105−5, and upon consideration of the parties' positions during the pretrial
                      conference held on December 5, 2023, including defendant's counsel's position that (1)
                      defendant does not object and will assert no objection at trial to plaintiffs' deposition
                      designations, set forth in the 115 First Amended JPTS ("First Am. JPTS"), see ECF
                      No. 115 at 8−11, and that (2) defendant withdraws his objections, raised in the parties'
                      initial JPTS, see id., App. E, Def.s Objs. Pls.' Jury Instr. at 3−4, to plaintiffs' proposed
                      jury instructions regarding "Certain Matters Already Decided" and Defamation," that,
                      by December 6, 2023 at 12 PM,

                      1.&nbsp&nbsp Plaintiffs shall submit a proposed jury instruction regarding plaintiffs'
                      burden of proof as to damages, as discussed during the pretrial conference; and

                      2.&nbsp&nbsp Defendant shall submit notice to the Court confirming Mr. Giuliani's
                      concurrence with his counsel's representations during the pretrial conference that, as
                      set forth, supra, (1) defendant does not object and will assert no objection at trial to
                      plaintiffs' deposition designations, set forth in the 115 First Amended JPTS, see ECF
                      No. 115 at 8−11, and (2) defendant withdraws his objections, raised in the parties'
                      initial JPTS, see id., App. E, Def.'s Objs. Pls.' Jury Instr. at 3−4, to plaintiffs' proposed
                      jury instructions regarding "Certain Matters Already Decided" and "Defamation."

                      Signed by Judge Beryl A. Howell on December 5, 2023. (lcbah4) (Entered:
                      12/05/2023)
   12/05/2023         Set/Reset Deadlines: Plaintiffs Proposed Jury Instructions And Defendant Notice due
                      no later than 12:00PM On December 6, 2023. (mac) (Entered: 12/05/2023)
   12/06/2023   116   STATUS REPORT re Pretrial Positions by RUDOLPH GIULIANI. (Sibley, Joseph)
                      (Entered: 12/06/2023)
   12/06/2023   117   Proposed Jury Instructions by RUBY FREEMAN, WANDREA MOSS. (Gottlieb,
                      Michael) (Entered: 12/06/2023)
   12/06/2023   118   NOTICE (Plaintiffs' Notice of Filing of Supplement to Proposed Jury Instructions) by
                      RUBY FREEMAN, WANDREA MOSS re 117 Proposed Jury Instructions (Gottlieb,
                      Michael) (Entered: 12/06/2023)
   12/07/2023   119   MEMORANDUM OPINION AND ORDER OVERRULING IN PART and
                      GRANTING IN PART objections raised in defendant's 110 Response to Minute Order
                      Dated November 21, 2023. See order for further details. Signed by Judge Beryl A.
                      Howell on December 7, 2023. (lcbah4) (Entered: 12/07/2023)
   12/07/2023   120   FINAL TRIAL ORDER. Signed by Judge Beryl A. Howell on December 7, 2023.
                      (lcbah4) (Entered: 12/07/2023)
   12/07/2023         Set/Reset Deadlines: Any exhibits, charts, or summaries to be used in opening
                      statements must be cleared with counsel for the other side prior to the opening
                      statements, and if any party objects, such objections must be submitted to the Court for
                      resolution by noon on Friday, December 8, 2023. (zalh) (Entered: 12/07/2023)
   12/07/2023   121   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Ruth Whitney, Filing
                      fee $ 100, receipt number ADCDC−10544777. Fee Status: Fee Paid. by RUBY
                      FREEMAN, WANDREA MOSS. (Attachments: # 1 Declaration of Ruth Whitney, # 2
                      Certificate of Good Standing, # 3 Text of Proposed Order)(Governski, Meryl)

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                      (Entered: 12/07/2023)
   12/08/2023   122   ENTERED IN ERROR.....TRANSCRIPT OF PROCEEDINGS, before Judge Beryl A.
                      Howell, held on 12−05−2023; Page Numbers: 1 − 100. Date of Issuance: 12−08−2023.
                      Court Reporter: Elizabeth Saint−Loth, Telephone number: 202−354−3242. Transcripts
                      may be ordered by submitting the Transcript Order Form

                      For the first 90 days after this filing date, the transcript may be viewed at the
                      courthouse at a public terminal or purchased from the court reporter referenced above.
                      After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                      (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                      days to file with the court and the court reporter any request to redact personal
                      identifiers from this transcript. If no such requests are filed, the transcript will be made
                      available to the public via PACER without redaction after 90 days. The policy, which
                      includes the five personal identifiers specifically covered, is located on our website at
                      www.dcd.uscourts.gov.

                      Redaction Request due 12/29/2023. Redacted Transcript Deadline set for 1/8/2024.
                      Release of Transcript Restriction set for 3/7/2024.(Saint−Loth, Elizabeth) Modified on
                      12/8/2023, Reporter error (mg). (Entered: 12/08/2023)
   12/08/2023   123   TRANSCRIPT OF PROCEEDINGS, before Judge Beryl A. Howell, held on
                      12−05−2023; Page Numbers: 1 − 100. Date of Issuance: 12−08−2023. Court Reporter:
                      Elizabeth Saint−Loth, Telephone number: 202−354−3242. Transcripts may be ordered
                      by submitting the Transcript Order Form

                      For the first 90 days after this filing date, the transcript may be viewed at the
                      courthouse at a public terminal or purchased from the court reporter referenced above.
                      After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                      (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

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                      available to the public via PACER without redaction after 90 days. The policy, which
                      includes the five personal identifiers specifically covered, is located on our website at
                      www.dcd.uscourts.gov.

                      Redaction Request due 12/29/2023. Redacted Transcript Deadline set for 1/8/2024.
                      Release of Transcript Restriction set for 3/7/2024.(Saint−Loth, Elizabeth) (Entered:
                      12/08/2023)
   12/10/2023   124   NOTICE (Joint Notice of Clarification Regarding Plaintiffs' Consent Motion In
                      Limine) by RUBY FREEMAN, WANDREA MOSS (Gottlieb, Michael) (Entered:
                      12/10/2023)
   12/11/2023         MINUTE ORDER granting plaintiffs' 121 Motion for Leave to Appear Pro Hac Vice.
                      Ruth Whitney may enter an appearance pro hac vice for the purpose of representing
                      plaintiffs in this action. Counsel should register for e−filing via PACER and file a
                      notice of appearance pursuant to LCvR 83.6(a) Click for instructions. Signed by
                      Judge Beryl A. Howell on December 11, 2023. (lcbah4) (Entered: 12/11/2023)


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   12/11/2023         MINUTE ORDER (paperless) DIRECTING that, by 9 AM on Tuesday, December 12,
                      2023, defendant submit notice identifying each exhibit admitted, at plaintiffs' request
                      and with defendant's consent during the first day of trial held on December 11, 2023,
                      as to which exhibit defendant now asserts an objection and the specific basis for such
                      objection. Signed by Judge Beryl A. Howell on December 11, 2023. (lcbah4)
                      (Entered: 12/11/2023)
   12/11/2023         Minute Entry for proceedings held before Judge Beryl A. Howell: Jury Trial held on
                      12/11/2023. Jury Selection Began And Concluded. Eight (8) Jurors Selected And
                      Sworn (Empaneled). Parties Gave Opening Statements. Plaintiff Begins Their Case.
                      Jury Trial Resumes On 12/12/2023 at 09:15 AM in Courtroom 26A− In Person before
                      Judge Beryl A. Howell.). (Court Reporter: ELIZABETH SAINT−LOTH (AM) LISA
                      MOREIRA (PM).)Defense Attorney: JOSEPH SIBNEY; Plaintiff Attorneys: VON
                      DUBOSE/MICHAEL GOTTLIEB; PLAINTIFF WITNESS: REGINA SCOTT (mac)
                      (Entered: 12/11/2023)
   12/11/2023   126   MOTION in Limine to Preclude Further Violations of the Court's Prior Orders by
                      RUBY FREEMAN, WANDREA MOSS. (Gottlieb, Michael) (Entered: 12/11/2023)
   12/11/2023         MINUTE ORDER: The Court having impaneled the jury in this action, it is hereby
                      ORDERED that during trial and deliberations all meals for said jury shall be paid by
                      the Clerk of the Court for the U.S. District Court for the District of Columbia. Signed
                      by Judge Beryl A. Howell on 12/11/23. (mac) (Entered: 12/12/2023)
   12/12/2023   127   RESPONSE to Order of the Court re Objections by RUDOLPH GIULIANI. (Sibley,
                      Joseph) Modified event on 12/12/2023 (mg). (Entered: 12/12/2023)
   12/12/2023         Minute Entry for proceedings held before Judge Beryl A. Howell: Jury Trial Resumed
                      And Held on 12/12/2023. Same Eight (8) Jurors. Plaintiff Continuing Presenting Their
                      Case. Jury Trial Resumes On 12/13/2023 at 9:15 AM in Courtroom 26A− In Person
                      before Judge Beryl A. Howell. (Court Reporter ELIZABETH SAINT−LOTH
                      (AM)/JANICE DICKMAN (PM).) Defense Attorneys: JOSEPH SIBLEY; Plaintiff
                      Attorneys: JOHN LANGFORD/MICHAEL GOTTLIEB; PLAINTIFF WITNESSES:
                      FRANK BRAUN (DEPOSITION TESTIMONY), MARY FRANCIS WALTON
                      (DEPOSITION TESTIMONY), WANDREA MOSS, BERNARD KERIK
                      (DEPOSITION TESTIMONY), CHRISTINA BOBB (DEPOSITION TESTIMONY),
                      JENNA ELLIS (DEPOSITION TESTIMONY) (mac) (Entered: 12/12/2023)
   12/12/2023   128   Exhibit List for Plaintiffs (Updated) by RUBY FREEMAN, WANDREA MOSS.
                      (Langford, John) (Entered: 12/12/2023)
   12/13/2023         Minute Entry for proceedings held before Judge Beryl A. Howell: Jury Trial Resumed
                      And Held on 12/13/2023 With The Same Jury Of Eight (8), Plaintiffs Resumed And
                      Concluded Their Case. Jury Trial Scheduled To Continue On 12/14/2023 at 9:00 AM
                      in Courtroom 26A− In Person before Judge Beryl A. Howell. Plaintiff Attorneys :
                      Michael Gottleib/ Meryl Governski; Defense Attorney: Joseph Sibley; Plaintiff
                      Witnesses: 1.) Pamela Michelle Branton (Via Deposition); #2) Ashlee Humphreys; #3)
                      Ruby Freeman; (Court Reporter ELIZABETH SAINT−LOTH (AM)/ LISA
                      MOREIRA (PM).) (mac) (Entered: 12/13/2023)
   12/14/2023         Minute Entry for proceedings held before Judge Beryl A. Howell: Jury Trial Resumed
                      on 12/14/2023. Defendant Rested His Case. Parties Gave Closing Statements And Jury
                      Deliberations Began. Jury Deliberation Will Resume on 12/15/2023 at 9:00 AM in
                      Courtroom 26A− In Person before Judge Beryl A. Howell.). (Plaintiff Attorneys:
                      MICHAEL GOTTLIEB; Defense Attorney: JOSEPH SIBLEY; Court Reporter

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                      ELIZABETH SAINT−LOTH (AM SESSION)/ JANICE DICKMAN (PM SESSION).
                      (mac) (Entered: 12/14/2023)
   12/14/2023   129   Signature Page of Foreperson

                      in Jury Note (01). (Access to the PDF Document is restricted pursuant to the
                      E−Government Act. Access is limited to Counsel of Record and the Court.). (mac)
                      (Entered: 12/14/2023)
   12/14/2023   130   Jury Note (01)(mac) (Entered: 12/14/2023)
   12/15/2023   131   Consent MOTION (Consent Motion to Amend Case Caption) by RUBY FREEMAN,
                      WANDREA MOSS. (Attachments: # 1 Text of Proposed Order)(Gottlieb, Michael)
                      (Entered: 12/15/2023)
   12/15/2023         Minute Entry for proceedings held before Judge Beryl A. Howell: Jury Trial (Day 5)
                      Resumed And Concluded on 12/15/2023 With A Jury Of 8. Jury Awarded
                      Compensatory And Punitive Damages To The Plaintiffs. (Court Reporter
                      ELIZABETH SAINT−LOTH.) (mac) (Entered: 12/15/2023)
   12/15/2023   132   (JOINT) ATTORNEYS' ACKNOWLEDGMENT CONCERNING TRIAL
                      EXHIBITS. (mac) (Entered: 12/15/2023)
   12/15/2023   133   Jury Notes (1)(mac) (Entered: 12/15/2023)
   12/15/2023   134   Signature Page of Foreperson

                      in Jury Note (1). (Access to the PDF Document is restricted pursuant to the
                      E−Government Act. Access is limited to Counsel of Record and the Court.). (zmac)
                      (Entered: 12/15/2023)
   12/15/2023   135   Verdict Form (mac) (Entered: 12/15/2023)
   12/15/2023   136   Signature Page of Foreperson

                      in Jury Verdict. (Access to the PDF Document is restricted pursuant to the
                      E−Government Act. Access is limited to Counsel of Record and the Court.). (zmac)
                      (Entered: 12/15/2023)
   12/18/2023         MINUTE ORDER (paperless) GRANTING plaintiffs' 131 Consent Motion to Amend
                      Case Caption, to modify the spelling of plaintiff Moss's first name from "Wandrea" to
                      "Wandrea'," and to remove defendants Herring Networks, Inc., Charles Herring,
                      Robert Herring, and Chanel Rion. The Clerk of the Court is directed to amend the
                      spelling of Ms. Moss's first name on the case docket and to modify the case caption to
                      reflect RUDOLPH W. GIULIANI as the sole defendant. Signed by Judge Beryl A.
                      Howell on December 18, 2023. (lcbah4) (Entered: 12/18/2023)
   12/18/2023   137   Jury Instructions. (mac) (Entered: 12/18/2023)
   12/18/2023   138   STIPULATION (Joint Stipulation Regarding Entry of Final Judgment) by RUBY
                      FREEMAN, WANDREA' MOSS. (Attachments: # 1 Text of Proposed
                      Order)(Gottlieb, Michael) (Entered: 12/18/2023)
   12/18/2023   139   MOTION to Lift Stay (Plaintiffs' Motion to Dissolve Stay of Execution) by RUBY
                      FREEMAN, WANDREA' MOSS. (Attachments: # 1 Declaration of Michael J.
                      Gottlieb, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Text of Proposed Order)(Gottlieb, Michael)


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                      (Entered: 12/18/2023)
   12/18/2023   140   MOTION for Order Granting Leave to Register Judgment by RUBY FREEMAN,
                      WANDREA' MOSS. (Attachments: # 1 Declaration of Michael J. Gottlieb, # 2 Exhibit
                      1, # 3 Exhibit 2, # 4 Text of Proposed Order)(Gottlieb, Michael) (Entered: 12/18/2023)
   12/18/2023   141   MOTION to Expedite to Expedite Briefing and Consideration of this Motion by
                      RUBY FREEMAN, WANDREA' MOSS. (Attachments: # 1 Declaration of Michael J.
                      Gottlieb, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Text of Proposed Order)(Gottlieb, Michael)
                      Modified event title on 12/19/2023 (znmw). (Entered: 12/18/2023)
   12/18/2023         MINUTE ORDER (paperless) DIRECTING defendant to file any response to
                      plaintiffs' 139 140 141 Motion to Dissolve Stay of Execution and for Leave to Register
                      Judgment in Any Other District and to Expedite Briefing, by December 19, 2023, at
                      2:00 PM. Signed by Judge Beryl A. Howell on December 18, 2023. (lcbah4) (Entered:
                      12/18/2023)
   12/18/2023   142   FINAL JUDGMENT. Signed by Judge Beryl A. Howell on December 18, 2023.
                      (lcbah4) (Entered: 12/18/2023)
   12/19/2023   143   RESPONSE re 139 MOTION to Lift Stay (Plaintiffs' Motion to Dissolve Stay of
                      Execution) filed by RUDOLPH GIULIANI. (Sibley, Joseph) (Entered: 12/19/2023)
   12/20/2023   144   MEMORANDUM AND ORDER granting plaintiffs' 139 140 141 Motion to Dissolve
                      Stay of Execution and for Leave to Register Judgment in Any Other District. See
                      Memorandum and Order for further details. Signed by Judge Beryl A. Howell on
                      December 20, 2023. (lcbah4) (Entered: 12/20/2023)
   01/11/2024   145   TRANSCRIPT OF JURY TRIAL − AFTERNOON SESSION before Judge Beryl A.
                      Howell held on December 11, 2023; Page Numbers: 1−154. Date of Issuance:January
                      11, 2024. Court Reporter/Transcriber Lisa A. Moreira, RDR, CRR, Telephone number
                      (202) 354−3187, Transcripts may be ordered by submitting the Transcript Order Form

                      For the first 90 days after this filing date, the transcript may be viewed at the
                      courthouse at a public terminal or purchased from the court reporter referenced above.
                      After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                      (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                      days to file with the court and the court reporter any request to redact personal
                      identifiers from this transcript. If no such requests are filed, the transcript will be made
                      available to the public via PACER without redaction after 90 days. The policy, which
                      includes the five personal identifiers specifically covered, is located on our website at
                      www.dcd.uscourts.gov.

                      Redaction Request due 2/1/2024. Redacted Transcript Deadline set for 2/11/2024.
                      Release of Transcript Restriction set for 4/10/2024.(Moreira, Lisa) (Entered:
                      01/11/2024)
   01/11/2024   146   TRANSCRIPT OF JURY TRIAL − AFTERNOON SESSION before Judge Beryl A.
                      Howell held on December 13, 2023; Page Numbers: 1−174. Date of Issuance:January
                      11, 2024. Court Reporter/Transcriber Lisa A. Moreira, RDR, CRR, Telephone number
                      (202) 354−3187, Transcripts may be ordered by submitting the Transcript Order Form




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                      For the first 90 days after this filing date, the transcript may be viewed at the
                      courthouse at a public terminal or purchased from the court reporter referenced above.
                      After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                      (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

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                      days to file with the court and the court reporter any request to redact personal
                      identifiers from this transcript. If no such requests are filed, the transcript will be made
                      available to the public via PACER without redaction after 90 days. The policy, which
                      includes the five personal identifiers specifically covered, is located on our website at
                      www.dcd.uscourts.gov.

                      Redaction Request due 2/1/2024. Redacted Transcript Deadline set for 2/11/2024.
                      Release of Transcript Restriction set for 4/10/2024.(Moreira, Lisa) (Entered:
                      01/11/2024)
   02/20/2024   147   MOTION for Judgment as a Matter of Law , MOTION for Judgment NOV , MOTION
                      for New Trial , MOTION to Alter Judgment by RUDOLPH GIULIANI. (Sibley,
                      Joseph) (Entered: 02/20/2024)
   02/20/2024   148   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 142 Order by RUDOLPH
                      GIULIANI. Filing fee $ 605, receipt number ADCDC−10701350. Fee Status: Fee
                      Paid. Parties have been notified. (Sibley, Joseph) (Entered: 02/20/2024)




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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN, et al.,

                          Plaintiffs,                      Civil Action No. 21-3354 (BAH)

                          v.                               Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                          Defendants.




                                DEFENDANT’S NOTICE OF APPEAL


       Notice is hereby given that Rudolph W. Giuliani, Defendant in the above-named case, hereby

appeals to the United States Court of Appeals for the District of Columbia Circuit as to the Final

Judgment [Document 142] entered in this action on the 18th day of December, 2023.1


                                                    CAMARA & SIBLEY LLP


                                                    /s/ Joseph D. Sibley___________________
                                                    Joseph D. Sibley
                                                    DC Bar ID: TX0202
                                                    sibley@camarasibley.com
                                                    Camara & Sibley LLP
                                                    1108 Lavaca St.
                                                    Suite 110263
                                                    Austin, Texas 78701

                1
                  Defendant files this Notice of Appeal subject to and without waiving his rights under his Renewed
       Motion for Judgment as a Matter of Law pursuant to Fed. R. Civ. P. 50(b) filed prior to this Notice, which is yet
       to be ruled on. However, Defendant files this Notice of Appeal out of abundance of caution in the event the
       tolling doctrine enunciated in cases such as Loc. Union No. 38, Sheet Metal Workers' Int'l Ass'n, AFL-CIO v.
       Custom Air Sys., Inc., 333 F.3d 345, 347 (2d Cir. 2003) applying 11 U.S.C. § 108 to the deadline to file a notice
       of appeal (60 days from the date a bankruptcy is filed, as may be extended by weekends or holidays) is not held
       to apply to a post-judgment motion such as a Rule 50(b) motion.


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                                               Telephone: (713) 966-6789
                                               Fax: (713) 583-1131

                                               ATTORNEYS FOR PLAINTIFF




                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of February, 2024, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which I understand to have caused service on all
counsel of record.


                                               /s/ Joseph D. Sibley IV
                                               Joseph D. Sibley IV




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 RUBY FREEMAN, et al.,

                        Plaintiffs,                 Civil Action No. 21-3354 (BAH)

                       v.                           Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                        Defendant.


                                      FINAL JUDGMENT

       Upon consideration of the Joint Stipulation Regarding Entry of Final Judgment, ECF No.

138, agreed to jointly by the parties, the entry of default judgment on liability against defendant

Rudolph W. Giuliani on plaintiffs’ well-pleaded claims for defamation, intentional infliction of

emotional distress, and civil conspiracy to commit those torts, as a sanction for defendant’s

sanctionable “willful shirking of his discovery obligations in anticipation of and during this

litigation,” Freeman v. Giuliani, No. 21-cv-3354 (BAH), 2023 WL 5600316, at *2 (D.D.C. Aug.

30, 2023), pursuant to FEDERAL RULES OF CIVIL PROCEDURE 37(e)(2)(C) and 37(b)(2)(A)(vi); see

also Default Judgment Order, ECF No. 93, and the jury verdict on the amount of damages owed

to plaintiffs by defendant, see ECF No. 135, it is hereby ORDERED, ADJUDGED, and

DECLARED as follows:

   1. Plaintiffs Ruby Freeman and Wandrea’ Moss shall recover from the defendant

       Rudolph W. Giuliani damages in the amount of $145,969,000.00, plus post-

       judgment interest at the rate of 5.01 % per annum, along with costs.

   2. Plaintiffs Ruby Freeman and Wandrea’ Moss shall recover from the defendant

       Rudolph W. Giuliani attorney’s fees as follows:
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         a. in the amount of $89,172.50, pursuant to this Court’s Order dated August

             30, 2023, ECF No. 93, plus post-judgment interest accruing from July 25,

             2023, at the rate of 5.33% per annum;

         b. in the amount of $43,684, pursuant to this Court’s Order dated August 30,

             2023, ECF No. 93, plus post-judgment interest accruing from September

             20, 2023, at the rate of 5.42% per annum; and

         c. in the amount of $104,256.50, pursuant to the Court’s September 22, 2023

             Minute Order, plus post-judgment interest accruing from October 6, 2023,

             at the rate of 5.46% per annum.

   3. It is hereby DECLARED pursuant to 28 U.S.C. § 2201(a), as between plaintiffs

      and defendant, as follows:

         a. It is hereby DECLARED (1) that the Actionable Statements set forth in

             the Amended Complaint, ECF No. 22, are false; (2) that those statements

             are defamatory and defamatory per se; (3) that those statements were of

             and concerning plaintiffs; (4) that defendant made those statements with

             actual malice; (5) that defendant published those statements to third parties

             without privilege; and (6) that those statements caused plaintiffs harm;

         b. It is further DECLARED (1) that defendant Giuliani engaged in extreme

             and outrageous conduct which (2) intentionally and maliciously (3) caused

             the plaintiffs to suffer severe emotional distress;

         c. It is further DECLARED (1) that defendant Giuliani entered into an

             agreement on or before December 3, 2020, with Donald J. Trump, Christina

             Bobb, Herring Networks, Inc., d/b/a OAN, Robert Herring, Charles



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             Herring, Chanel Rion, and members of the Trump 2020 Presidential

             Campaign, including members of the Trump Legal team headed by

             Giuliani, who caused statements to be published about plaintiffs or

             participated in such publications, (2) to participate in defamation of

             and intentional infliction of emotional distress on plaintiffs, and (3) that

             plaintiffs were injured by unlawful overt acts performed by parties to the

             agreement pursuant to, and in furtherance of, the common scheme.

         d. It is further DECLARED that defendant’s conduct was intentional,

             malicious, wanton, and willful, such that plaintiffs are entitled to punitive

             damages.

SO ORDERED.

Date: December 18, 2023

                                                    __________________________
                                                    BERYL A. HOWELL
                                                    United States District Judge




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